       Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 1 of 118




              IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF CALIFORNIA

Laura Loomer, as an individual, Laura      :
Loomer, in her capacity as a Candidate     :
                                               Case No. 22-cv-2646
for United States Congress, and Laura      :
Loomer for Congress, Inc.,                 :   FIRST AMENDED
                                           :   COMPLAINT FOR
                                           :   DAMAGES AND
      Plaintiffs,                          :   INJUNCTIVE RELIEF
                                           :
                                           :   1.   Civil RICO
v.                                         :   2.   Civil RICO Conspiracy
                                           :
Meta Platforms, Inc. d/b/a Meta f/k/a      :
Facebook, Inc., Mark Zuckerberg, in his    :   JURY TRIAL DEMANDED
capacity as CEO of Facebook, Inc. and as :
an individual, Twitter, Inc., and          :
Jack Dorsey, in his capacity as former     :
CEO of Twitter, Inc. and as an individual, :
The Proctor & Gamble Company, Does         :
1-100, Individuals,                        :
                                           :
                                           :
      Defendants.                          :
                                           :
                                           :
                                           :
____________________________________:
        Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 2 of 118




                               INTRODUCTION

                                          1.

In a stunning admission days ago on The Joe Rogan Experience, Mark Zuckerberg

admitted what many Americans have long suspected – that the decision by social

media companies to censor news coverage about the Hunter Biden laptop scandal

for the crucial weeks prior to the 2020 Presidential election – was prompted by

agents from the Federal Bureau of Investigation warning them about “Russian

disinformation.” This confirmed what has become one of the worst-kept secrets in

modern American political history: that individuals within the United States

government’s federal law enforcement agencies and the U.S. intelligence apparatus

conspired with the big-tech giants to illegally interfere with the 2020 Presidential

election.

                                          2.

Also in the last few weeks, prominent COVID-19 vaccine skeptic Alex Berenson

revealed that members of President Joe Biden’s administration illegally conspired

with Twitter to ensure that he was banned from its platform. This was revealed from

internal Twitter Slack messages and came to light only because Mr. Berenson

brought suit against Twitter. In a rare move, Twitter settled the suit with Mr.

Berenson and allowed him back on the platform, presumably to avoid additional

harmful discovery proving misconduct and direct coordination and conspiracy to


                                         2
        Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 3 of 118




ban conservative individuals by big-tech companies and the U.S. government

coming to light.

                                            3.

These are just the latest two examples of a wide-ranging conspiracy involving social

media giants, other elements in corporate America and high-level officials in the

Executive Branch of the United States government, to unlawfully censor

conservative voices and interfere with American elections.

                                            4.

This action is brought on behalf of one of the primary victims of that conspiracy,

two-time U.S. Congressional candidate Laura Loomer, who ran for office in the

State of Florida and is also a resident of the State of Florida.

                                      PARTIES

                                            5.

Plaintiff Laura Loomer (Ms. Loomer) is an individual and a citizen and resident of

the State of Florida.

                                            6.

Plaintiff Laura Loomer (Candidate Loomer) was the Republican Party nominee for

U.S. House Florida District 21 for the 2020 General Election of the United States of

America.




                                           3
        Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 4 of 118




                                           7.

Plaintiff Candidate Loomer was a federal candidate for the Republican Party

nomination for U.S. House Florida District 11 for the 2022 Primary Election in the

State of Florida.

                                           8.

Plaintiff Laura Loomer for Congress, Inc. is a Florida corporation that operates under

the registered trade name, Laura Loomer for Congress, Inc.

                                           9.

Plaintiffs Laura Loomer and Laura Loomer for Congress, Inc. are entities engaged

in activities that affect interstate and foreign commerce.

                                           10.

Ms. Loomer is the Chief Executive Officer of Laura Loomer for Congress, Inc.

                                           11.

Defendant Meta Platforms, Inc., d/b/a Meta, f/k/a Facebook, Inc. (Facebook) is

incorporated in the state of Delaware with its principal place of business located at

1601 Willow Road, Menlo Park, California. Facebook does substantial business in

all 50 states including the Northern District of California and the state of Florida.

                                           12.

Defendant Mark Zuckerberg is the Chairman and CEO of Facebook and a resident

of the State of California.


                                           4
        Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 5 of 118




                                           13.

Defendant Twitter, Inc. is incorporated in the state of Delaware with its principal

place of business located at 1355 Market Street, Suite 900, San Francisco, California.

Twitter does substantial business in all 50 states, including the Northern District of

California and the State of Florida.

                                           14.

Defendant Jack Dorsey is the former CEO of Twitter, Inc. and a resident of the

State of California.

                                           15.

Defendant The Proctor & Gamble Company is incorporated in the state of Ohio

with its principal place of business located at 1 Proctor & Gamble Plaza,

Cincinnati, Ohio, 45202. Proctor & Gamble does substantial business in all 50

states, including the Northern District of California and the State of Florida.

                                           16.

Defendants Does 1-100 are persons within the Federal Bureau of Investigation, and

potentially others within the Executive Branch of the United States government and

corporate America, including executives and advertising officials at Proctor &

Gamble, who conspired with other Defendants to commit the unlawful acts

described herein.




                                           5
             Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 6 of 118




                              JURISDICTION AND VENUE

                                           17.

Defendants are subject to the jurisdiction of this court pursuant to California Code

of Civil Procedure 410.10 and Federal Rule of Civil Procedure 4, because

Defendants are domiciled, have transacted business, continue to transact business,

and have caused injury within the state and elsewhere.

                                           18.

Venue is proper in this court pursuant to 28 U.S. Code § 1391 because this is a

judicial district in which a Defendant resides, and all Defendants are residents of the

State in which the district is located.

                                           19.

This Court’s jurisdiction and venue are proper pursuant to 18 U.S.C. § 1965 and 28

U.S.C. §1332 because the matter in controversy violates RICO statutes,1 exceeds the

value of $75,000, and is between citizens and corporations of different states,

specifically Florida and California.2




1
    18 U.S.C. § 1961 – 1968
2
    28 U.S.C. § 1332 (2020)

                                           6
             Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 7 of 118




                                      PROCEDURAL HISTORY

                                                          20.

Plaintiff Loomer has sued Defendant Facebook and Defendant Twitter multiple

times in multiple venues including the Northern District of California and the

Southern District of Florida.

                                                          21.

On August 29, 2018, Plaintiff Loomer along with Freedom Watch, Inc. sued Apple

Inc., Google Inc., Facebook Inc., and Twitter Inc. in the U.S. District Court for the

District of Columbia for (1) Violation of Sections 1 & 2 of the Sherman Act – Illegal

Agreement in Restraint of Trade, (2) Discrimination in Violation of D.C. Code § 2-

1403.16, and (3) violation of the First Amendment to the Constitution and 42 U.S.C.

§ 1983, and the Supreme Court denied certiorari but with substantial commentary

relevant to the instant matter regarding the Defendants herein, provided by Justice

Thomas in a related concurring opinion.3

                                                          22.

On July 8, 2019, Plaintiff Loomer sued Facebook Inc. in the Southern District of

Florida for Defamation, and the court transferred the case to this Court where

Plaintiff Loomer’s Voluntary Motion to Dismiss was granted on August 14, 2020.4




3
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring).
4
    Loomer v. Facebook, Inc., 4:20-cv-03154 (2020).

                                                          7
        Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 8 of 118




                                          23.

On August 22, 2019, Plaintiff Ms. Loomer along with Illoominate Media, Inc. sued

CAIR Foundation, Twitter, Inc., John Does 1-5, and CAIR Florida, Inc. in the

Southern District of Florida for (1) Breach of Contract, (2) Tortious Interference

with Advantageous Business Relationship, (3) Unlawful Agreement in Restraint of

Trade, (4) Civil Conspiracy, and (5) violating Florida Deceptive and Unfair Trade

Practices Act, though Defendant Twitter was never served and was dismissed from

the case, and the 11th Circuit Court of Appeals found in favor of CAIR Foundation.

                                          24.

While this action is maintained between some of the same parties as these prior

lawsuits, this action does not replicate any claims from prior lawsuits, and the acts

giving rise to the causes of action herein overlap with those in these prior lawsuits

only to the extent to which Defendants’ regular course of business engaged in the

commission of predicate acts of racketeering.




                                          8
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 9 of 118




                                            BACKGROUND

                                        Social Media Platforms

                                                        25.

“Social media platforms have transformed into the new public town square.”5

                                                        26.

“Social media platforms have become as important for conveying public opinion as

public utilities are for supporting modern society.”6

                                                        27.

“Social media platforms hold a unique place in preserving first amendment

protections for all Floridians and should be treated similarly to common carriers.”7

                                                        28.

“Social media platforms that unfairly censor, shadow ban, deplatform, or apply post-

prioritization algorithms to Florida candidates, Florida users, or Florida residents are

not acting in good faith.”8

                                                        29.

“Social media platforms have unfairly censored, shadow banned, deplatformed, and

applied post-prioritization algorithms to Floridians.”9



5
  Section 1.4., FL. S.B. 7072. 2021 Legislature. On May 24, 2021, Florida Governor Ron DeSantis and the Florida
Legislature signed Florida Senate Bill 7072 into law.
6
  Section 1.5., FL. S.B. 7072. 2021 Legislature.
7
  Section 1.6., FL. S.B. 7072. 2021 Legislature.
8
  Section 1.7., FL. S.B. 7072. 2021 Legislature.
9
  Section 1.9., FL. S.B. 7072. 2021 Legislature.

                                                        9
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 10 of 118




                                                        30.

“The state has a substantial interest in protecting its residents from inconsistent and

unfair actions by social media platforms.”10

                                                        31.

Defendants Facebook and Twitter “are at bottom communications networks and they

‘carry’ information from one user to another.”11

                                                        32.

Defendants Facebook and Twitter are digital platforms that “hold themselves out as

organizations that focus on distributing the speech of the broader public” that

“cannot be treated as the publisher or speaker of the information they merely

distribute.”12

                                                        33.

“When a user does not already know exactly where to find something on the Internet

– and users rarely do – Google is the gatekeeper between the user and the speech of

the others 90% of the time.”13

                                                        34.

The U.S. Department of Justice claims Google has long broken the law in its quest

to remain “the gateway to the internet” and has disadvantaged competitors in an


10
   Section 1.10., FL. S.B. 7072. 2021 Legislature.
11
   Biden v. Knight First Amendment Institute at Columbia Univ. 593 U.S. ______ (2021) (Thomas, J. concurring).
12
   Biden v. Knight First Amendment Institute at Columbia Univ. 593 U.S. ______ (2021) (Thomas, J. concurring).
13
   Biden v. Knight First Amendment Institute at Columbia Univ. 593 U.S. ______ (2021) (Thomas, J. concurring).

                                                       10
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 11 of 118




effort to sell more online search ads, and in December 2021, more than 200

newspapers filed suit against Facebook and Google, who were accused of unfairly

manipulating the advertising market and siphoning away their revenue.14

                                                         35.

“Facebook and Twitter can greatly narrow a person’s information flow through

similar means.”15

                                                         36.

“Some courts have misconstrued [47 U.S.C. §230] to give digital platforms

immunity for bad faith removal of third-party content.”16



          SCHEMES AND GOALS OF COMMUNITY MEDIA ENTERPRISE

                                                         37.

Facebook, Twitter, and other social media companies, including but not limited to

Instagram, Google Inc. and YouTube, along with other members of corporate

America including Proctor & Gamble, as well as individuals within the FBI and

other parts of the Executive Branch of the United States government are members

of an enterprise which has used and continues to fraudulently use the pretext of “hate



14
   Zilber, Ariel. “Facebook and Google accused of ‘secret deal’ to carve up ad empire,” New York Post. January 14,
2022; Steigrad, Alexandra. “Over 200 newspapers are suing Facebook and Google for killing their advertising,”
New York Post. December 8, 2021.
15
   Biden v. Knight First Amendment Institute at Columbia Univ. 593 U.S. ______ (2021) (Thomas, J. concurring).
16
   Malwarebytes, Inc. v. Enigma Software Group USA, LLC. 592 U.S. ______ (2020) (Thomas, J., statement
respecting denial of certiorari) (slip op., at 7-8).

                                                        11
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 12 of 118




speech” as cover for committing and continuing to commit illegal predicate acts

under the RICO statutes on Ms. Loomer, Candidate Loomer, Loomer Campaign, and

many others, including their subscriber base as a whole as a distinct group of victims,

in order to further multiple fraudulent schemes, including but not limited to schemes

involving extortion, wire fraud, racketeering, and advocating the overthrow of

government.

                                                         38.

The Procter & Gamble Company (P&G) is an American multinational consumer

goods corporation headquartered in Cincinnati, Ohio, and incorporated in Ohio, that

engages in activities affecting interstate and foreign commerce and is one of

Facebook’s largest corporate advertisement purchasers.17

                                                         39.

Google Inc. is incorporated in Delaware with its principal place of business located

at 650 Page Mill Rd., Palo Alto, California.

                                                         40.

In 2018, according to the attorneys general for Texas, fourteen (14) other states, and

Puerto Rico, Defendant Zuckerberg and his counterpart at Google, CEO Sundar

Pichai, secretly conspired and acted along with Facebook CFO Sheryl Sandberg to




17
  “Procter & Gamble to stay silent on ad decisions as Facebook boycott grows,” Reuters. July 1, 2020.
https://nypost.com/2020/07/01/procter-gamble-to-stay-silent-on-ads-amid-facebook-boycott/.

                                                       12
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 13 of 118




guarantee Defendant Facebook would both bid in and win a fixed percentage of ad

auctions.18

                                                         41.

These fifteen (15) state attorneys general also claim that Google intentionally misled

publishers and advertisers for years about how it prices and executes its ad auctions

by creating secret algorithms that increased prices for buyers while deflating revenue

for some advertisers.19

                                                         42.

In October 2018, the New York Times reported on an investigation which found that

governments were successfully using Twitter to promote favorable content, attack

critical voices, and otherwise shape what average people found when online.20

                                                         43.

On or about October 15, 2019, Defendant Facebook paid five billion dollars

($5,000,000,000) in fines after the United States government discovered it engaged

in a previous fraudulent pretextual scheme perpetuated against its subscriber base as

a whole.21


18
   Zilber, Ariel. “Facebook and Google accused of ‘secret deal’ to carve up ad empire,” New York Post. January 14,
2022; see also In Re: Google Digital Advertising Antitrust Litigation. Civil Action No.: 1:21-md-03010 Second
Amended Complaint, (SDNY 2021).
19
   Zilber, Ariel. “Facebook and Google accused of ‘secret deal’ to carve up ad empire,” New York Post. January 14,
2022; see also In Re: Google Digital Advertising Antitrust Litigation. Civil Action No.: 1:21-md-03010, Second
Amended Complaint, (SDNY 2021).
20
   Hubbard, Ben. “Why Spy on Twitter? For Saudi Arabia, It’s the Town Square,” The New York Times. November
7, 2019.
21
   Gardner, Eriq. “Judge Urged to Reject "Broad Immunity" for Facebook,” The Hollywood Reporter. October 15,
2019.

                                                        13
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 14 of 118




                                                          44.

On or about November 8, 2019, Defendant Facebook was reported to have engaged

in another fraudulent scheme called “The Switcharoo Plan,” wherein Facebook

executives intentionally misled its partnering developers to rely on its services to

then undermine them under the false pretext of promoting privacy.22

                                                          45.

On June 25, 2021, the Supreme Court of Texas ruled that Defendant Facebook was

potentially civilly liable for human trafficking violations which would constitute

predicate acts under civil RICO statutes.23

                                                          46.

Meta24, the company formerly known as Facebook Inc., privately announced on

January 31, 2022, that users can use its platforms to solicit human smugglers.25




22
   Paul, Katie and Hosenball, Mark. “Facebook executives planned 'switcharoo' on data policy change: court filings,”
Reuters. November 6, 2019; Schechner, Sam and Olson, Parmy. “Facebook Feared WhatsApp Threat Ahead of 2014
Purchase, Documents Show: Internal emails could serve as fodder for regulators studying social network’s business
practices,” The Wall Street Journal. November 6, 2019; Newton, Casey. “How leaked court documents reveal
Facebook’s fundamental paranoia: The company’s anticompetitive behavior is rooted in a deep sense of fear that it’s
vulnerable to rivals,” The Verge. November 8, 2019.
23
   In Re Facebook, Inc. and Facebook, Inc. d/b/a Instagram, Relators, 20-0434 (Tex. 2021).
24
   On October 28, 2021, Defendant Zuckerberg changed the name of Facebook Inc. to Meta.
25
   Simonson, Joseph. “Meta Will Allow Solicitation of Human Smuggling on Its Platforms - Policy comes amid
surge in Facebook groups devoted to human smuggling,” Washington Free Beacon. February 1, 2022.

                                                        14
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 15 of 118




                    PROMISES OF COMMUNITY MEDIA ENTERPRISE

                                                            47.

On or about September 5, 2018, Defendant Dorsey testified before Congress, “We

believe strongly in being impartial, and we strive to enforce our rules impartially.

We do not shadowban anyone based on political ideology.”26

                                                            48.

On or about September 12, 2019, Google announced it would alter its algorithms to

boost articles containing original reporting from sources with positive reputations

that have received awards.27

                                                            49.

On or about September 21, 2019, Nick Clegg, Facebook VP of Global Affairs and

Communication, announced that Facebook would not submit speech by politicians

to its new “independent” fact checkers, and “generally allow it on the platform even

when it would otherwise breach our normal content rules.”28

                                                            50.

On September 21, 2019, Clegg announced an exception to this policy, namely that,

“when a politician shares previously debunked content including links, videos and



26
   Harper, Cindy. “Senator Hawley wants Twitter to explain its blacklists: Twitter told Congress it doesn't shadowban,”
Reclaim The Net. July 19, 2020.
27
   Neidig, Harper. “Google to boost articles with 'original reporting' in search results,” The Hill. September 12, 2019.
28
   Lemieux, Melissa. “Facebook Announces It Will Not Be Submitting Content From Politicians To Independent
Fact Checking,” Newsweek. September 24, 2019.

                                                          15
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 16 of 118




photos, we plan to demote that content, display related information from fact-

checkers, and reject its inclusion in advertisements.”29

                                                       51.

On September 21, 2019, Clegg announced that there remained a second exemption

for newsworthiness, which Facebook has had in place since 2016.30

                                                       52.

On September 24, 2019, Clegg announced, “I know some people will say we should

go further that we are wrong to allow politicians to use our platform to say nasty

things or make false claims. But imagine the reverse. Would it be acceptable to

society at large to have a private company in effect become a self-appointed referee

for everything that politicians say? I don’t believe it would be. In open democracies,

voters rightly believe that, as a general rule, they should be able to judge what

politicians say themselves.”31

                                                       53.

On or about September 24, 2019, Defendant Facebook stated that it determines

whether content from politicians is allowed on its site based upon a country and

situational specific balancing test evaluating the public interest value of the piece of



29
   Lemieux, Melissa. “Facebook Announces It Will Not Be Submitting Content From Politicians To Independent
Fact Checking,” Newsweek. September 24, 2019.
30
   Lemieux, Melissa. “Facebook Announces It Will Not Be Submitting Content From Politicians To Independent
Fact Checking,” Newsweek. September 24, 2019.
31
   Robertson, Adi. “Facebook Announces It Will Not Be Submitting Content From Politicians To Independent Fact
Checking,” The Verge. September 24, 2019.

                                                      16
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 17 of 118




speech against the risk of harm, reliant on such factors as whether the country is at

war or involved in an election.32

                                                          54.

On or about October 5, 2019, Defendant Facebook’s Vice President of Global

Affairs and Communication Nick Clegg stated “[Facebook] can’t be a policeman on

the internet saying what is acceptable or what is absolutely true. The freedom to say

stupid things is the freedom of an open society.”33

                                                          55.

On or about October 7, 2019, Vijaya Gadde, Twitter’s global lead for legal, policy,

and trust and safety, stated that Twitter’s fundamental mission is to serve the public

conversation and permit “as many people in the world as possible for engaging on a

public platform and it means that we need to be open to as many viewpoints as

possible.”34

                                                          56.

On October 17, 2019, Defendant Mark Zuckerberg said, “People worry, and I worry

deeply, too, about an erosion of truth. At the same time, I don’t think people want to

live in a world where you can only say things that tech companies decide are 100


32
   Robertson, Adi. “Facebook Announces It Will Not Be Submitting Content From Politicians To Independent Fact
Checking,” The Verge. September 24, 2019.
33
   Rankovic, Didi. “Contradicting their recent history, Facebook VP Nick Clegg says they don’t want to police the
internet,” Reclaim The Net. October 5, 2019.
34
   Koebler, Jason. “How Twitter Sees Itself: Multiple current and former Twitter employees, including executives,
explain how Twitter really positions itself and its responsibilities around moderating speech.” Motherboard: Tech by
Vice. October 7, 2019.

                                                        17
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 18 of 118




percent true.”35

                                                       57.

On or about November 4, 2019, Defendant Twitter’s government relations team told

candidates seeking verification that Twitter would not give new contenders a “blue

checkmark” until after the contenders won a state primary.36

                                                       58.

On or about November 15, 2019, in a U.S. House Veterans Affairs Committee

Hearing, Twitter Public Policy manager Kevin Kane denied any type of censorship

on Twitter and stated, “Twitter was born to serve the entire public conversation.” 37

                                                       59.

On or about December 12, 2019, Defendant Twitter announced it would verify all

candidates running for House, Senate, or governor.38

                                                       60.

On or about December 14, 2019, Defendant Twitter announced its Trust and Safety

Council will cover specific real-world harm concerns, such as safety, online




35
   Romm, Tony. “Facebook CEO Mark Zuckerberg says in interview he fears ‘erosion of truth’ but defends allowing
politicians to lie in ads,” The Washington Post. October 17, 2019.
36
   Ahuja, Siddak. “Twitter censors anti-establishment views,” The Post Millennial. November 4, 2019.
37
   Bulleri, Fabrizio. “Rep. Jim Banks questions Twitter on why it allows scams but censors political speech,”
Reclaim The Net. November 15, 2019.
38
   Birnbaum, Emily. “Twitter to start verifying candidates when they qualify for primary election,” The Hill.
December 12, 2019.

                                                      18
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 19 of 118




harassment, human and digital rights, child sexual exploitation, suicide prevention,

mental health, and “broaden our interpretation of dehumanization.”39

                                                        61.

On or about May 27, 2020, U.S. Representative Matt Gaetz stated that Twitter is

“not merely going to provide a place for people to share their ideas, they’re going to

add their analysis to those ideas.” 40



                                                        62.

On or about May 28, 2020, Brandon Borrman, Twitter’s vice president of global

communications, stated that Twitter’s policy violation review system is set up to

keep enforcement decisions independent from the teams responsible for public and

government relations.41

                                                        63.

On July 29, 2020, Defendant Zuckerberg said, “We're very focused on fighting

against election interference, and we're also very focused on fighting against hate

speech.”42




39
   Rankovic, Didi. “Twitter to expand its “Trust and Safety Council”,” Reclaim The Net. December 14, 2019.
40
   Crisp, Elizabeth. “Donald Trump to Issue Social Media Executive Order After Twitter Fact-Checks Tweets,”
Newsweek. May 27, 2020.
41
   Oremus, Will. “Inside Twitter’s Decision to Fact-Check Trump’s Tweets,” OneZero. May 28, 2020.
42
   Czachor, Emily. “Facebook Removes Most Hate Speech Before People See It, Zuckerberg Tells Congress,”
Newsweek. July 29, 2020; Note also that the US Supreme Court has declined to recognize a hate speech exception to
protected speech, e.g. Matal v Tam, 137 S. Ct. 1744 (2017).

                                                       19
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 20 of 118




                                                          64.

On July 29, 2020, Facebook provided $500,000 in funding to create the “Global

Network Against Hate.”

                                                          65.

The publicly stated purpose of the “Global Network Against Hate” is to counter

emerging trends in online extremism and unapproved COVID-19 content by

developing strategies, policies, and tools.43

                                                          66.

On June 5, 2021, Defendant Twitter stated that access to its platform “is an essential

human right in modern society.”44

        a. Community Guidelines

                                                              67.

Shadow banning is the practice of banning a user’s content such that it is difficult or

impossible for others on a social media platform to discover or view it, while the

user is unaware that the banning is occurring.




43
   Parker, Tom. “Facebook gives $500,000 to Ontario university project that says coronavirus will drive online hate:
The money is meant to help create a knowledge hub on "hate and violent extremism." Reclaim The Net. July 29,
2020.
44
   See Twitter Public Policy @Policy, The voice of Twitter's Global Public Policy team, 8:17 am, June 5, 2021.

                                                         20
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 21 of 118




                                                             68.

Defendant Twitter’s “Civic Integrity Policy” bars users from “manipulating or

interfering in elections or other civic processes,” such as by posting misleading

information that could dissuade people from participating in an election.45

                                                             69.

Defendant Twitter’s civic integrity policy applies special fact-checking scrutiny to

tweets that might interfere with people’s participation in democratic processes, a

level of scrutiny only shared with the policy of harmful information related to

COVID 19.46

                                                             70.

According to Twitter’s Sensitive Media Policy, sharing “graphic violence, adult

content, and hateful imagery” results in content potentially being hidden behind a

“sensitive media” warning.47

                                                             71.

According to Facebook’s Bullying Policy on March 30, 2022, which expressly “does

not apply to individuals who are part of designated organizations under the

Dangerous Organizations and Individuals policy,” comparing any private individual



45
   “Twitter labels Trump's false claims with warning for first time,” The Guardian. May 26, 2020.
https://www.theguardian.com/us-news/2020/may/26/trump-twitter-fact-check-warning-label
46
   Oremus, Will. “Inside Twitter’s Decision to Fact-Check Trump’s Tweets,” OneZero. May 28, 2020.
47
   Parker, Tom. “Twitter hides James O’Keefe tweet about CNN investigative report behind “sensitive media”
notice: O’Keefe’s previous investigative reports have been censored by other tech giants after they responded to
questionable privacy complaints,” Reclaim The Net. October 14, 2019.

                                                        21
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 22 of 118




to an animal considered “culturally inferior” is a violation that does not require

reporting to be removed.48

                                                             72.

On or about October 21, 2019, Defendant Facebook announced that it removes

accounts based on behavior regardless of content pursuant to its “inauthentic

behavior policy”.49

                                                             73.

On or about October 26, 2019, Defendant Facebook reported that speech content

from political action groups, rather than the politicians themselves, was subject to

third-party content review.50

                                                             74.

As of October 31, 2019, Defendant Facebook’s policy was to count any ad that

advocates for or against a social issue as a political ad, and it defined social issues

to include topics like education, crime, and health. A political health ad was defined

to include any “discussion, debate, and/or advocacy for or against topics including

but not limited to healthcare reform and access to healthcare.”51




48
   https://transparency.fb.com/policies/community-standards/bullying-harassment/ on March 30, 2022.
49
   Miller, Maggie. “Facebook takes down Russian, Iranian accounts trying to interfere in 2020,” The Hill. October
21, 2019.
50
   “Facebook removes false ad from Pac claiming Graham backs Green New Deal,” The Guardian. October 26,
2019. https://www.theguardian.com/technology/2019/oct/26/facebook-lindsey-graham-green-new-deal-ad
51
   “Facebook under fire after ads for anti-HIV drug PrEP deemed political,” The Guardian. October 31, 2019.
https://www.theguardian.com/technology/2019/oct/31/facebook-prep-ads-instagram-political

                                                        22
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 23 of 118




                                                            75.

On or about November 4, 2019, Carlos Monje, Jr., U.S. policy director for Twitter,

stated that Twitter allows extremist groups engaged in active peace resolution

processes and groups elected to public office to remain online.52

                                                            76.

On or about November 9, 2019, Defendant Facebook announced that its

“coordinating harm policy” prohibited any content that might disclose the identity

of a potential witness, informant, or activist related to a whistleblower matter and

subsequently removed content discussing whether the individuals should be publicly

identified as “coordinating harm and promoting crime.”53

                                                            77.

On or about November 27, 2019, Defendant Facebook stated that an advertisement

for a book about historical military headwear “is about social issues, elections or

politics, based on the definition we’re using for enforcement.”54

                                                            78.

On or about December 14, 2019, Defendant Twitter announced a series of actions

that would trigger “enforcement action for any account,” including promoting



52
   Birnbaum, Emily. “Twitter takes down Hamas, Hezbollah-affiliated accounts after lawmaker pressure,” The Hill.
November 4, 2019.
53
   Harper, Cindy. “Facebook is deleting journalism in real-time: This is unprecedented,” Reclaim The Net.
November 9, 2019.
54
   Suciu, Peter. “A Military History Book Is Too Political,” Forbes. November 27, 2019.

                                                       23
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 24 of 118




terrorism, clear and direct threats of violence against an individual, posting private

information, sharing intimate photos or videos of a person without their consent,

material involving child sexual exploitation, and any message encouraging or

promoting self-harm. 55

                                                          79.

On or about January 1, 2020, Twitter updated its terms of service to grant itself the

right to “limit distribution or visibility of any content on the service,” in addition to

removing or refusing to distribute any content, suspending or terminate users and

reclaiming their usernames without liability.56

                                                          80.

On or about January 17, 2020, Defendant Facebook had taken down pages for

engaging in “inauthentic behavior,” which it defines as working together to mislead

people about who they are and what they are doing.57

                                                          81.

On or about January 21, 2020, Defendant Facebook announced it would remove

false claims and conspiracy theories about the coronavirus if it risks causing harm

to people who believe them. The policy applied across both Instagram and Facebook,

and included misinformation about fake cures or prevention methods, or any claim


55
   Rankovic, Didi. “Twitter to expand its ‘Trust and Safety Council’,” Reclaim The Net. December 14, 2019.
56
   Nolan, Lucas, “Twitter’s shadow-banning practices are now official,” Breitbart. January 1, 2020.
57
   Ballhaus, Rebecca. “Coordinated Posts Defend Connecticut Man Who Exchanged Ukraine Texts,” Wall Street
Journal. January 17, 2020.

                                                     24
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 25 of 118




that could confuse people about what health resources are available. Hashtags used

to spread misinformation on Instagram were also blocked or restricted.58

                                                           82.

On or about March 2, 2020, Defendant Facebook used the term of art “coordinated

inauthentic behavior” (CIB) to refer to networks of fake accounts and pages aimed

at manipulating public conversations.59

                                                           83.

On or about March 24, 2020, Twitter confirmed that propaganda from Chinese

officials that attempts to blame the U.S. for the coronavirus is permitted on the

platform.60

                                                           84.

On or about April 20, 2020, Defendant Mark Zuckerberg told ABC’s George

Stephanopoulos that protests of stay-at-home orders that violate state social

distancing rules organized through his social media platform qualify as “harmful

misinformation” and will be taken down.61

                                                           85.

On or about June 2, 2020, Defendant Facebook alerted its staff that it would be


58
   Porter, Jon. “Facebook and Instagram to remove coronavirus misinformation,” The Verge. January 31, 2020.
59
   Birnbaum, Emily. “Facebook says it removed five foreign influence campaigns in February,” The Hill. March 2,
2020.
60
   Parker, Tom. “Twitter Suspends Popular News Account Breaking911,” Reclaim The Net. March 24, 2020.
61
    Concha, Joe, “Zuckerberg: Some stay-at-home protests organized on Facebook could qualify as 'harmful
misinformation',” The Hill. April 20, 2020; Bokhari, Allum, “Mark Zuckerberg: Lockdown Protests are
‘Misinformation’, Facebook will ban Organizers,” Breitbart. April 20, 2020.

                                                      25
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 26 of 118




changing its policies relating to the moderation of posts by politicians.62

                                                        86.

On or about June 15, 2020, Google announced, “we have strict publisher policies

that govern the content ads can run on and explicitly prohibit derogatory content that

promotes hatred, intolerance, violence or discrimination based on race from

monetizing. When a page or site violates our policies, we take action. In this case,

we’ve removed both sites’ ability to monetize with Google.” 63

                                                        87.

In an internal announcement of Meta's “human smuggling policy” obtained by the

Washington Free Beacon, Defendant Facebook’s parent company concluded that a

crackdown on human smuggling solicitations would hamper the ability for people

to use the platform “to seek safety or exercise their human rights,” and therefore

Defendant Facebook will maintain its current policy which prohibits users from

offering human smuggling but allows them to solicit smuggling services.64

                                                        88.

Defendant Twitter’s terms of service update does not disclose how or why users may

trigger its new right to “limit distribution or visibility of any content on the service,”



62
   Nolan, Lucas. “Mark Zuckerberg Tells Angry Facebook Employees He May Change Censorship Policy on Trump
and Other World Leaders,” Breitbart. June 2, 2020.
63
   Fraser, Adele-Momoko, “Google bans website ZeroHedge from its ad platform over comments on protest
articles,” NBC News. June 16, 2020.
64
   Simonson, Joseph. “Meta Will Allow Solicitation of Human Smuggling on Its Platforms - Policy comes amid
surge in Facebook groups devoted to human smuggling,” Washington Free Beacon. February 1, 2022.

                                                   26
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 27 of 118




in addition to removing or refusing to distribute any content, suspending or

terminating users and reclaiming their usernames without liability, or whether these

decisions will be made by algorithms, directly by humans, or some combination of

the two.65

        b. Fact Checkers

                                                             89.

On or about September 19, 2019, Defendant Zuckerberg admitted to U.S. Senator

Josh Hawley that he was aware Facebook’s factcheckers exhibited clear activist bias

and have done so for a long time.66

                                                             90.

On or about May 27, 2020, U.S. Representative Matt Gaetz announced he supports

an effort to prevent social media giants like Twitter from fact-checking content on

their platforms.67

                                                             91.

On or about May 27, 2020, Defendant Dorsey reaffirmed Twitter’s commitment to

fact-check information related to elections.




65
   Nolan, Lucas. “Twitter Makes Shadow Banning Official Part of Terms of Service,” Breitbart. January 2, 2020;
Rankovic, Didi. “Twitter’s shadow-banning practices are now official,” Reclaim the Net. January 1, 2020.
66
   Bokhari, Allum. “Report: Mark Zuckerberg admits Facebook’s ‘clear bias,’ dependence on ‘activist’ fact checkers,”
Breitbart. September 19, 2019; Parker, Tom. “Mark Zuckerberg agrees there ‘clearly was bias; in Facebook fact-
check’ of pro-life non-profit Live Action,” Reclaim the Net. September 19, 2019.
67
   Crisp, Elizabeth. “Donald Trump to Issue Social Media Executive Order After Twitter Fact-Checks Tweets,”
Newsweek. May 27, 2020.

                                                        27
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 28 of 118




                                                            92.

On or about May 27, 2020, Defendant Zuckerberg stated that adding fact-check

warnings to content that is deemed to be “misinformation” reduces clicks through to

the content by 95%.68

                                                            93.
As of May 27, 2020, fact checking for Twitter is performed by the “Moments Team,”

a group of experts on compiling social media posts and arranging them into a

narrative.69

                                                            94.

On or about May 27, 2020, Defendant Twitter said there was no way for even the

President of the United States to appeal a fact-check.70

                                                            95.

Defendant Twitter did not fact check the false claim made by media organizations

that President Trump went golfing on Memorial Day 2020.71




68
   Parker, Tom. “Facebook soft-censors The Babylon Bee, starts forcing users to confirm that they actually want to
share posts,” Reclaim The Net. May 27, 2020.
69
   Edelman, Gilad. “Twitter Finally Fact-Checked Trump. It’s a Bit of a Mess,” Wired. May 27, 2020.
70
   Bokhari, Allum. “8 Lies by Joe Biden and the Left that Twitter Didn’t Fact Check,” Breitbart. May 27, 2020.
71
   Bokhari, Allum. “8 Lies by Joe Biden and the Left that Twitter Didn’t Fact Check,” Breitbart. May 27, 2020.

                                                       28
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 29 of 118




                                                               96.

Defendant Twitter did not fact check the false claim made by Candidate Joe Biden

in May 2020 and other Democrats that Joe Biden called for lockdowns one week

before President Trump.72

                                                               97.

Defendant Twitter did not fact check the false claim made by Joe Biden on May 26,

2020 that President Donald Trump had no comprehensive plan for COVID 19 or the

economy.73

                                                               98.

Defendant Twitter did not fact check the false claim by the World Health

Organization on January 14, 2020 that there was “no evidence of human-to-human

transmission of the coronavirus.”74

         c. Authoritative Sources

                                                               99.

On or about September 12, 2019, Google announced it would begin promoting news

articles that feature original reporting in its search results in an effort to push users

to more “authoritative” sources.75




72
   Bokhari, Allum. “8 Lies by Joe Biden and the Left that Twitter Didn’t Fact Check,” Breitbart. May 27, 2020.
73
   Bokhari, Allum. “8 Lies by Joe Biden and the Left that Twitter Didn’t Fact Check,” Breitbart. May 27, 2020.
74
   Bokhari, Allum. “8 Lies by Joe Biden and the Left that Twitter Didn’t Fact Check,” Breitbart. May 27, 2020.
75
   Neidig, Harper. “Google to boost articles with 'original reporting' in search results,” The Hill. September 12, 2019.

                                                          29
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 30 of 118




                                                       100.

On or about March 18, 2020, Defendant Twitter began applying a broader definition

of “harm” to address content that “goes directly against guidance from authoritative

sources of global and local health information.”76

                                                       101.

On or about March 18, 2020, Defendant Twitter announced that the following

previously allowed content would be removed, such as: (1) Denial of health

authority recommendations; (2) Description of treatments, even in jest, that are not

immediately harmful but are known to be ineffective; (3) Description of harmful

treatments; (4) Specific and unverified claims that incite people to action and cause

widespread panic; (5) Claims that specific groups or nationalities are never

susceptible, or are more susceptible, to COVID-19; or (6) False or misleading claims

on how to differentiate between COVID-19 and a different disease.77

                                                       102.

On or about March 18, 2020, Defendant Twitter announced, “if an account holder

sees information on the service that is directly against guidance from authoritative

sources of global and local public health information – report it to us and we will



76
   Hern, Alex. “Twitter to remove harmful fake news about coronavirus,” The Guardian. March 18, 2020; Parker,
Tom. “Twitter will force users to delete tweets that deny “expert guidance” about coronavirus,” Reclaim The Net.
March 18, 2020.
77
   Hern, Alex. “Twitter to remove harmful fake news about coronavirus,” The Guardian, March 18, 2020; Parker,
Tom. “Twitter will force users to delete tweets that deny ‘expert guidance’ about coronavirus,” Reclaim The Net.
March 18, 2020.

                                                      30
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 31 of 118




assess under our new expanded rule. Reports made under any of [the existing]

categories will be assessed under the updated rule – regardless.”78

                                                       103.

On or about March 18, 2020, Defendant Twitter announced it would be enforcing

the new rules “in close coordination with trusted partners, including public health

authorities and governments, and continue to use and consult with information from

those sources when reviewing content.” 79

                                                       104.

On or about April 17, 2020, Defendant Facebook’s list of “authoritative sources”

included CBS, which used videos from Italian hospitals when reporting about the

situation in U.S. hospitals; ABC, which reported that President Trump knew about

COVID-19 in November 2019 which was later debunked by the National Center for

Medical Intelligence; and Huffington Post and New York Times which claimed

President Trump was profiting from the use of the Hydroxychloroquine to treat

COVID-19 patients which was later rated as “mostly false” by Snopes, a fact

checking site.80



78
   Hern, Alex. “Twitter to remove harmful fake news about coronavirus”, The Guardian. March 18, 2020; Parker,
Tom. “Twitter will force users to delete tweets that deny ‘expert guidance’ about coronavirus,” Reclaim The Net.
March 18, 2020.
79
   Hern, Alex. “Twitter to remove harmful fake news about coronavirus,” The Guardian. March 18, 2020; Parker,
Tom. “Twitter will force users to delete tweets that deny “expert guidance” about coronavirus,” Reclaim The Net.
March 18, 2020.
80
   Rankovic, Didi. “Facebook will send you a warning if you’ve liked any ‘misinformation’ but mainstream media
goes unchecked,” Reclaim The Net. April 17, 2020.

                                                      31
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 32 of 118




                                                         105.

On or about April 20, 2020, Defendant Facebook began censoring any information

about COVID-19 treatments not verified by its selected “authoritative sources” and

any statements that discourage or “events that defy government’s guidance on social

distancing.”81

                                      HATE SPEECH POLICY
                                                         106.

Defendant Facebook’s Community Standards on hate speech rules apply to

“protected characteristics” which it defines as “race, ethnicity, national origin,

religious affiliation, sexual orientation, caste, sex, gender, gender identity, and

serious disease or disability,” with punishments for violations ranging from a

warning to an outright ban depending on the severity of the violation and the

person’s history on the platform.82

                                                         107.

Defendant Facebook defines hate speech as an attack on people based on race,

ethnicity, national origin, religion, orientation, sex, gender identity, and serious

disease or disability.83


81
    Krayden, David. “Facebook Censoring Anti-Lockdown protesters. Donald Trump Jr. Calls It ‘Chilling &
Disturbing’,” Daily Caller. April 20, 2020; Wong, Julie Carrie. “Facebook bans some anti-lockdown protest pages,”
The Guardian. April 20, 2020; Robertson, Adi. “Facebook is banning protest events that violate social distancing
rules,” The Verge. April 20, 2020.
82
   Parker, Tom. “Facebook now says it’s ‘hate speech’ to deny that someone’s ‘gender identity’ exists,” Reclaim the
Net. January 10, 2020.
83
   Murdock, Jason. “Facebook Acts Faster on Hate Speech Than Twitter and YouTube, Report Shows,” Newsweek.
June 24, 2020.

                                                        32
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 33 of 118




                                                         108.

On or about June 13, 2019, Defendant Facebook was discovered to be monitoring

off-site behavior to determine whether or not certain users get banned, monitoring

the on-platform and off-platform activities of prominent political individuals on an

internal file called “Hate Agent policy review.”84

                                                         109.

On or about December 19, 2019, Defendant Facebook changed its Community

Standards on “hate speech” to prohibit “statements denying existence” based on

“gender identity,” meaning that denying the existence of a potentially unlimited

number of gender identities could now result in a permanent account ban. 85

                                                         110.

On or about June 18, 2020, Defendant Facebook’s head of security policy, Nathaniel

Gleicher, confirmed to a U.S. House Intelligence Committee that it removed

campaign ads by President Donald Trump about the left-wing militant group Antifa

that contained an upside-down red triangle, a symbol currently used by Antifa and




 84
    Bokhari, Allum. “Facebook Claims it didn’t defame Laura Loomer with ‘dangerous individual’ label,” Breitbart.
April 13, 2020; Parker, Tom. “Facebook defends calling congressional candidate Laura Loomer ‘dangerous’,”
Reclaim the Net. April 13, 2020.
85
    Parker, Tom. “Facebook now says it’s ‘hate speech’ to deny that someone’s ‘gender identity’ exists,” Reclaim the
Net. January 10, 2020.

                                                        33
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 34 of 118




once used by Nazis to designate political prisoners, communists and others in

concentration camps, because of its connection with “hateful ideology.”86

                                                       111.

On or about June 26, 2020, Facebook announced an expansion to its ad policy

prohibiting claims that specific races, ethnicities, religious affiliations, sexual

orientations, and gender identities are a “threat” to others. 87

                                                       112.

On or about June 26, 2020, Defendant Zuckerberg announced, “We’re also

expanding our policies to better protect immigrants, migrants, refugees and asylum

seekers from ads suggesting these groups are inferior or expressing contempt,

dismissal or disgust directed at them.”88

                                                       113.

On or about June 26, 2020, Facebook executives also vowed to invest more to tackle

hate on the platform, including continuing the development of artificial-intelligence

technology that can detect hate speech, according to an email.89



86
   Glazer, Emily. “Facebook Removes Trump Campaign Ads for Violating Policy on Use of Hate Symbol,” The Wall
Street Journal. June 19, 2020; Wong, Julie Carrie. “Facebook removes Trump re-election ads that feature a Nazi
symbol,” Guardian. June 18, 2020.
87
   Burch, Sean. “Facebook Expands Hate Speech Policy, Will Add Notifications to ‘Newsworthy’ Posts That Break
Rules,”, The Wrap. June 26, 2020; Vranica, Suzanne and Seetharaman, Deepa. “Facebook Tightens Controls on
Speech as Ad Boycott Grows,” The Wall Street Journal. June 26, 2020.
88
   Burch, Sean. “Facebook Expands Hate Speech Policy, Will Add Notifications to ‘Newsworthy’ Posts That Break
Rules,”, The Wrap. June 26, 2020; Vranica, Suzanne and Seetharaman, Deepa. “Facebook Tightens Controls on
Speech as Ad Boycott Grows,” The Wall Street Journal. June 26, 2020.
89
   Vranica, Suzanne. “Facebook Tries to Contain Damage as Verizon Joins Ad Boycott,” The Wall Street Journal.
June 26, 2020.

                                                     34
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 35 of 118




                                                           114.

On or about July 10, 2020, Facebook changed its hate speech policy to include a ban

on any content that directly promotes conversion therapy, as an attack against people

based on sexual orientation or gender identity.90

                                                           115.

On or about July 28, 2020, Twitter announced it would begin blocking links that

violate its “hateful conduct” rules on July 30, 2020.91

                                                           116.

On or about July 28, 2020, Twitter’s hateful conduct policy began prohibiting links

to a wide range of alleged content, including:

         1. “content that degrades someone,”

         2. “dehumanizing speech” against groups of people based on four “protected”
            categories (age, disability, religion, or serious disease),

         3. “inciting fear” against these protected categories,

         4. “asserting that protected categories are more likely to take part in
            dangerous or illegal activities,”

         5. reinforcing “negative or harmful stereotypes about a protected category,”

             and

         6. “targeted misgendering or deadnaming of transgender individuals.” 92



90
   Statt, Nick. “Facebook and Instagram ban all posts promoting conversion therapy,” The Verge. July 10, 2020.
91
   Parker, Tom. “Twitter says it will start blocking some links for “hateful conduct,” Reclaim The Net. July 28, 2020.
92
   Parker, Tom. “Twitter says it will start blocking some links for “hateful conduct,” Reclaim The Net. July 28, 2020.

                                                         35
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 36 of 118




                                                       117.

Former Facebook-Cognizant content moderator Ryan Hartwig (“Hartwig”) has

confirmed that Defendant Facebook expressly allows the comparing of supporters

of President Donald Trump to members of the Ku Klux Klan.

                                                       118.

On August 10, 2020, Facebook defined religious affiliation as a “protected

characteristic,” meaning that any violent or dehumanizing speech towards it violates

“community guidelines.” 93

                                                       119.

Facebook explicitly lists dehumanizing comparisons referring to Jewish people as

hate speech that is banned from the platform.94

                                                       120.

Facebook also maintains a more narrowly defined list of “tiers” of hate speech,

ranging from Tier 1 (e.g., “content targeting a person on the basis of their

aforementioned protected characteristic with dehumanizing speech or imagery in the

form of comparisons to insects”), to Tier 3 (e.g., “content targeting a person on the

basis of their protected characteristic with calls for segregation”).95


93
   Nichols, Benjamin. “More Than 120 International Nonprofits Ask Facebook To Create Anti-Semitism Policy,”
Daily Caller. August 10, 2020.
94
   Nichols, Benjamin. “More Than 120 International Nonprofits Ask Facebook To Create Anti-Semitism Policy,”
Daily Caller. August 10, 2020
95
   Kastrenakes, Jacob. “Facebook bans blackface and anti-Semitic stereotypes in hate speech update,” The Verge,
August 11, 2020; Hern, Alex. “Facebook and Instagram ban antisemitic conspiracy theories and blackface,” The


                                                      36
           Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 37 of 118




                                                         121.

A 2020 European Commission Report said 88 percent of content violating

Facebook’s hate speech policy was found by algorithms before being seen by general

users.96

        a. Algorithms

                                                         122.

Google has worked with the Southern Poverty Law Center on content moderation,

has blacklisted conservative news websites, and has adjusted search results on

YouTube to downrank content critical of abortion, David Hogg, Maxine Waters, and

the Federal Reserve.97

                                                         123.

Google routinely adjusts its search algorithms in a way that dramatically impacts the

bottom line of businesses that rely on Google search results to drive traffic.98

                                                         124.

On or about May 26, 2020, The Wall Street Journal reported that an internal

Facebook report presented to Defendant Facebook’s executives in 2018 found that



Guardian. August 12, 2020; Chaffary, Shirin. “Facebook bans blackface and certain anti-Semitic conspiracy theories,”
VOX. August 11, 2020.
96
   Murdock, Jason. “Facebook Acts Faster on Hate Speech Than Twitter and YouTube, Report Shows,” Newsweek.
June 24, 2020.
97
   Bokhari, Allum. “Google CEO Sundar Pichai Praises Company’s ‘Strong Ethical Foundation’,” Breitbart.
September 20, 2019.
98
   Bokhari, Allum. “WSJ Investigation Further Debunks Google’s Claim of No Manual Intervention in Searches,”
Breitbart. November 18, 2019.

                                                        37
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 38 of 118




the company was well aware that its product, specifically its recommendation engine

algorithms, stoked divisiveness and polarization.99

                                                         125.

Former Facebook-Cognizant content moderator Zack McElroy said that there is

stark contrast between Democrat-leaning content and posts by Republican and

conservative politicians, journalists, and supporters that ends up “flagged,” a process

performed by algorithms, and put in what moderators call “Civic Harassment

Cue.”100

                                                         126.

On or about June 23, 2020, in testimony before the U.S. House Energy and

Commerce Committee, Defendant Zuckerberg said that algorithms produced by his

company to determine which content was allowed and which was banned on the

giant platform, were not “directed” in any way to enforce political or other bias. 101

                                                         127.

Former Facebook/Cognizant moderator Zack McElroy said that 75% to 80% of

flagged content comes from Republican pages and noted that while algorithms are




99
   Statt, Nick. “Facebook reportedly ignored its own research showing algorithms divided users,” The Verge. May 26,
2020.
100
    Rankovic, Didi. “Facebook moderator whistleblower raises the alarm on biased algorithms, Reclaim The Net. June
23, 2020.
101
    Rankovic, Didi. “Facebook moderator whistleblower raises the alarm on biased algorithms,” Reclaim The Net. June
23, 2020.

                                                        38
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 39 of 118




not human, they are programmed by humans, that is, somebody at Facebook has to

write them to single out content the way they do.102

        b. Moderators

                                                         128.

Defendant Facebook’s third-party content moderator Cognizant was hired to remove

content related to hate speech, terrorism, and other purported inappropriate content

from platforms including Facebook, Google, and Twitter. 103

                                                         129.

Hartwig has confirmed that Defendant Facebook directs content moderators to delete

content using the words: “Troll,” “Attention Whore,” “Ignorant,” “Internet Whore,”

“Gender Confused,” “Fucktard,” “Libtard,” “Trumptard,” “Feminazi,” and

“Snowflake.”

                                                         130.

Similarly, Defendant Facebook directs content moderators to ignore content using

the words: “Pedofile,” “Nazi,” “Trumphumper,” “Racist,” “Sexist,” and “Bigot.”




102
    Rankovic, Didi. “Facebook moderator whistleblower raises the alarm on biased algorithms,” Reclaim The Net. June
23, 2020.
103
    Newton, Casey. “A Facebook content moderation vendor is quitting the business after two Verge investigations
Moderators complained of filthy offices and severe mental health strain,” The Verge. October 30, 2019.

                                                        39
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 40 of 118




                                                          131.

An inside Facebook/Cognizant video shows Defendant Facebook’s content

moderators discussing censoring conservatives, and reveals exceptions being given

to Don Lemon from CNN for violations of “hate speech policy”.104

                                                          132.

On or about September 23, 2019, a content moderator for Defendant Facebook

reported that the implementation of Defendant Facebook’s content moderation

policies, including hate speech, are left to the interpretation of third-party contractors

by design.105

                                                          133.

On or about October 30, 2019, Defendant Facebook’s third-party content moderator

Cognizant announced, after hiring thousands of moderators around the world, that it

had “determined that certain content work [focused on determining whether certain

content violates client standards] in our Digital Operations practice is not in line with

our strategic vision for the company and we intend to exit this work over-time.”106




104
    Hasson, Peter. “Project Veritas Video Shows Facebook Content Moderators Discussing Censoring Conservatives,
Reveals ‘Exception Given To Don Lemon For Hate Speech,” Daily Caller. June 23, 2020; Rankovic, Didi. “Facebook
mods were told not to censor Don Lemon’s ‘hate speech’,” Reclaim the Net. June 23, 2020.
105
    Notopoulos, Katie. “Burt's Bush And XXXTentacion's Death: Why Facebook Moderators Fail,” BuzzFeed.
September 23, 2019.
106
    Castro, Alex. “A Facebook content moderation vendor is quitting the business after two Verge investigations,” The
Verge, October 30, 2019.

                                                         40
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 41 of 118




                                                     134.

On or about May 7, 2020, Defendant Facebook created an oversight board with the

power to control bans and censorship actions, made up of 20 members including:

Pamela Karlan, who before the U.S. House of Representatives Committee on the

Judiciary on December 4, 2019, testified to impeach President Trump and has been

called a “full-throated, unapologetic liberal torchbearer” by the New York Times;

Tawakkol Karman, a Soros-funded activist and a publicly acknowledged member of

the Muslim Brotherhood; the former editor-in-chief of The Guardian; the former left

wing prime minister of Denmark; and an academic who once praised a Teen Vogue

article comparing President Trump to Hitler.107

                                                     135.

On or about May 16, 2020, Hungarian Prime Minister Viktor Orbán and the

Hungarian Government called Defendant Facebook’s “oversight board” not some

neutral expert body, but a “Soros Oversight Board” intended to placate the

billionaire activist because three of its four co-chairs include Catalina Botero

Marino, “a board member of the pro-abortion Center for Reproductive Rights,

funded by Open Society Foundations” — Soros’s flagship NGO — and Helle

Thorning-Schmidt, former Prime Minister of Denmark, who is “unequivocally and



107
  Bokhari, Allum. “FCC Commissioner Slams Facebook Supreme Court: ‘New Speech Police’,” Breitbart. May 7,
2020; Rankovic, Didi. “FCC commissioner isn’t happy with Facebook’s new ‘speech police’,” Reclaim The Net.
May 7, 2020.

                                                    41
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 42 of 118




vocally anti- Trump” and serves alongside Soros and his son Alexander as trustee of

another NGO, and a Columbia University professor Jamal Greene who served as an

aide to Senator Kamala Harris (D-CA) during Justice Kavanaugh’s 2018

confirmation Hearings. 108

                                                         136.

Even if content moderation is protected speech, making misrepresentations about

content moderation policies is not.109

                                                         137.

On or about May 27, 2020, Twitter spokesman stated, “no person at Twitter is

responsible for our policies or enforcement actions, and it’s unfortunate to see

individual employees targeted for company decisions.”110

                                                         138.

On or about May 27, 2020, Defendant Jack Dorsey stated, “there is someone

ultimately accountable for our actions as a company, and that’s me.”111




108
    Hoff, Jim. “Hungarian Politician: Facebook Appoints “Soros Oversight Board” to Police Acceptable Online
Speech in America,” The Gateway Pundit. May 16, 2020; Montgomery, Jack. “Hungary’s Conservative Govt
Sounds Alarm On Facebook’s New ‘Soros Oversight Board’,” Breitbart. May 16, 2020.
109
    Twitter, Inc. v. Paxton, No. 21-15869, 9 (9th Cir. Mar. 2, 2022); See Va. State Bd. of Pharmacy v. Va. Citizens
Consumer Council, Inc., 425 U.S. 748, 772 (1976) (misleading commercial speech is not protected).
110
    Statt, Nick. “White House organizes harassment of Twitter employee as Trump threatens company,” The Verge.
May 27, 2020; Broderick, Ryan. “Trump’s Campaign and Fox News Are Attacking a Twitter Employee Because They
Think He Fact-Checked The President. They Have The Wrong Guy.”, BuzzFeed. May 27, 2020.
111
    Rahman, Abid. “Twitter CEO Responds to Trump: "We’ll Continue to Point Out Incorrect or Disputed Information
About Elections," The Hollywood Reporter. May 27, 2020.

                                                        42
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 43 of 118




                                                       139.

“In Twitter's view, its content moderation decisions are protected speech because it

is a publisher, and it has a First Amendment right to choose what content to

publish.”112

                                                       140.

If Defendant Twitter's statements are misleading commercial speech, and thus

unprotected, then Defendant Twitter's content moderation decisions would be a

proper cause for the investigation, because they would be the very acts that make its

speech misleading.113

                                                       141.

“Although both companies are public, one person controls Facebook (Mark

Zuckerberg), and just two control Google (Larry Page and Sergey Brin).”114

                                                       142.

Ryan Hartwig, a former Cognizant content moderator for Facebook, stated that

Facebook’s content moderation policies became more biased between 2018 and

2020, with exceptions in Facebook policy being made for left-wing users who use

the platform to demonize the police or white males. 115



112
    Twitter, Inc. v. Paxton, No. 21-15869, 4 (9th Cir. Mar. 2, 2022).
113
    Twitter, Inc. v. Paxton, No. 21-15869, 10 (9th Cir. Mar. 2, 2022).
114
    Biden v. Knight First Amendment Institute at Columbia Univ. 593 U.S. ______ (2021) (Thomas, J. concurring)
115
    Bokhari, Allum. “Facebook Insider Ryan Hartwig: The Company Allowed Users to Demonize Whites, Men,
Cops,” Breitbart. June 26, 2020.

                                                     43
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 44 of 118




                                                          143.

Hartwig stated, “There’s definitely a lot of bias, [and] it wasn’t just the content

moderators, it’s the policy itself that’s biased and rigged against conservatives.” 116

                                                          144.

Hartwig stated, “Even if I report that [anti-conservative] post, it would still stay on

the platform.” 117

                                                          145.

Whether a social media company’s statements are misrepresentations is “not solely

a legal issue because it depends on further factual amplification,” and therefore a

social media company’s “statements can be investigated as misleading just like the

statements of any other business.”118

                                                          146.

In June 2018, Facebook made an exception to its hate speech policy prohibiting

attacks based on gender entities, to expressly allow attacking straight white males

and calling “them ‘filth’ if it’s in the context of attacking them for not supporting

LGBT.”119


116
    Bokhari, Allum. “Facebook Insider Ryan Hartwig: The Company Allowed Users to Demonize Whites, Men,
Cops,” Breitbart. June 26, 2020.
117
    Bokhari, Allum. “Facebook Insider Ryan Hartwig: The Company Allowed Users to Demonize Whites, Men,
Cops,” Breitbart. June 26, 2020.
118
    Twitter, Inc. v. Paxton, No. 21-15869, 10, 12 (9th Cir. Mar. 2, 2022); United States v. Lazarenko, 476 F.3d 642,
652 (9th Cir. 2007).
119
  Bokhari, Allum. “Facebook Insider Ryan Hartwig: The Company Allowed Users to Demonize Whites, Men,
Cops,” Breitbart. June 26, 2020.

                                                        44
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 45 of 118




                                                           147.

On July 23, 2020, Defendant Facebook reported that its hate speech policies treat

attacks on white people or men in exactly the same way as it treats comments about

Black people or women.120

                                                           148.

A reasonable person could think that a social media company’s statements about

content moderation were true.121



                                    HATE SPEECH STATISTICS

                                                           149.

According to researcher Richard Hanania of Columbia University, between 2015

and 2019, the monthly suspension of important political accounts increased

ninefold.122

                                                           150.

According to researcher Richard Hanania of Columbia University, between 2015

and 2019, conservative and Republican politicians were approximately four times

more likely to be censored and lose their accounts than liberals. 123



120
    Solon, Olivia. “Facebook ignored racial bias research, employees say,” NBC. July 23, 2020.
121
    Twitter, Inc. v. Paxton, No. 21-15869, 13 (9th Cir. Mar. 2, 2022).
122
    Bulleri, Fabrizio. “Rep. Jim Banks questions Twitter on why it allows scams but censors political speech,” Reclaim
The Net. November 15, 2019.
123
    Bulleri, Fabrizio. “Rep. Jim Banks questions Twitter on why it allows scams but censors political speech,” Reclaim
The Net. November 15, 2019.

                                                         45
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 46 of 118




                                                          151.

On or about October 24, 2019, Defendant Twitter announced it removed over half

of its abusive tweets prior to being reported by users.124

                                                          152.

On or about October 31, 2019, Defendant Twitter reported it locked or suspended a

total of 1,254,226 unique accounts for violating its rules in the first half of 2019 – a

105% increase compared with the second half of 2018.125

                                                          153.

On or about November 30, 2019, Defendant Facebook stated that it removed 11.4

million pieces of “hate speech” between April and September 2019 but does not

provide a database for the posts that are removed on these grounds, making it

impossible to know the types of posts Facebook is censoring.126

                                                          154.

On or about May 12, 2020, Defendant Facebook announced it removed 9.6 million

pieces of content that contained hate speech in the first quarter of 2020, up from 5.7

million during the fourth quarter of 2019.




124
    Kastrenakes, Jacob. “Twitter says it now removes half of all abusive tweets before users report them,” The Verge.
October 24, 2019.
125
    Parker, Tom. “Twitter says it locked and suspended 105% more accounts in 2019,” Reclaim The Net. October 31,
2019.
126
    Harper, Cindy. “Facebook deletes post of First Lady Melania Trump, calls it ‘Hate Speech’,” Reclaim The Net.
November 30, 2019.

                                                         46
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 47 of 118




                                                       155.

On or about May 12, 2020, Facebook announced it removed around 4.7 million

pieces of content originating from organized hate groups in the first months of 2020,

96.7% prior to someone reporting it, an increase of more than 3 million from the last

quarter of 2019.127

                                                       156.

On or about August 11, 2020, Facebook announced it removed about 8.7 million

pieces of “terrorist” content (i.e., content from nonstate actors that engage in or

advocate for violence to achieve political, religious or ideological aims) in the

second quarter of 2020, up from 6.3 million in the first quarter of that same year. 128

                                                       157.

On or about August 11, 2020, Facebook announced it removed about 4 million

pieces of content from “organized hate” groups, a separate category, down from 4.7

million in the first quarter.129




127
    Johnson, Marty. “Facebook sees jump in posts removed for promoting violence, hate speech,” The Hill. May
12, 2020.
128
    Levy, Rachael. “Facebook Removed Nearly 40% More Terrorist Content in Second Quarter,” The Wall Street
Journal. August 11, 2020.
129
    Levy, Rachael. “Facebook Removed Nearly 40% More Terrorist Content in Second Quarter,” The Wall Street
Journal. August 11, 2020.

                                                      47
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 48 of 118




                                                       158.

On or about August 11, 2020, Facebook announced it removed 22.5 million pieces

of content from Facebook and 3.3 million from Instagram130 for hate speech

violations, still another separate category, in the second quarter of 2020.131



                           DANGEROUS INDIVIDUALS POLICY

                                                       159.

In February 2019, Defendant Facebook labeled UK activist Tommy Robinson as a

dangerous individual and a “hate preacher,” banned him from the platform, and

began punishing users for mentioning him in their posts.132

                                                       160.

On or about May 2, 2019, Defendant Facebook banned a number of prominent media

figures, including Ms. Loomer, that it chose to designate as “dangerous individuals”

for their alleged off-platform associations with affiliates of the Proud Boys.133

                                                       161.

As of June 13, 2019, Defendant Facebook maintained a list of high-profile political

figures who it monitored for potential designation as “hate agents,” which serves as



130
    A doubling and tripling from the previous quarter, respectively.
131
    Levy, Rachael. “Facebook Removed Nearly 40% More Terrorist Content in Second Quarter,” The Wall Street
Journal. August 11, 2020.
132
    Pramod, Naga. “Facebook says you can only mention Tommy Robinson if you’re criticizing him or saying ‘he’s
an idiot’,” Reclaim The Net. September 30, 2019.
133
    Lee, Dave. “Facebook bans 'dangerous individuals',” BBC News, May 3, 2019.

                                                     48
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 49 of 118




a pre-cursor for labeling someone as a Dangerous Individual, including conservative

activist Candace Owens, author and think tank founder Brigitte Gabriel, and British

politicians Carl Benjamin and Anne-Marie Waters.134

                                                          162.

In Summer of 2019, Defendant Facebook updated its policy on “violence and

incitement” to ban death threats and incitement to violence unless the threat was

aimed at someone labeled, as defined by Defendant Facebook, as a Dangerous

Individual or Organization.135

                                                          163.

On or about September 16, 2019, Defendant Facebook admitted to maintaining a

“Dangerous Individuals and Organizations” policy that is activated by amplifying or

trafficking hate.136

                                                          164.

On September 23, 2019, Facebook instructed Cognizant to allow mocking the death

of rapper XXXTentacion because, as a “violent criminal,” he was exempt from the

rule that otherwise forbids mocking death.137




134
    Bokhari, Allum. “Facebook’s Process to Label You a ‘Hate Agent’ Revealed,” Breitbart, June 13, 2019.
135
    Bokhari, Allum. “Facebook Sanctions Violent Threats Against ‘Dangerous Individuals’,” Breitbart, July 9, 2019.
136
    Rankovic, Didi. “Facebook says it’s a publisher, invokes First Amendment rights to call Laura Loomer a ‘dangerous
individual’,” Reclaim The Net. September 17, 2019.
137
     Notopoulos, Katie. “Burt's Bush and XXXTentacion's Death: Why Facebook Moderators Fai,” BuzzFeed.
September 23, 2019.

                                                         49
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 50 of 118




                                                       165.

On or about September 30, 2019, Facebook said, “Our rules don’t explicitly forbid

talking about Tommy Robinson – you are allowed to write that you don’t like him,

or that he’s an idiot.”138

                                                       166.

On or about April 27, 2020, Defendant Facebook threatened to ban users who shared

the image bearing the legend “Proud to Be English” and two crossed flagpoles

carrying the English St. George’s Cross and the white lion on a red field — a banner

associated with Anglo-Saxons — in celebration of St. George’s Day because they

had posted content which “goes against our Community Standards on dangerous

individuals and organizations.”               After receiving many complaints, Defendant

Facebook removed the restrictions placed on the impacted accounts.139

                                                       167.

On June 23, 2021, Defendant Facebook updated its Dangerous Individuals and

Organizations Standard to create “three tiers of dangerous organizations, levels that

are tied primarily to the degree of harm the company attributes to each, with violence




138
    Pramod, Naga. “Facebook says you can only mention Tommy Robinson if you’re criticizing him or saying ‘he’s
an idiot’,” Reclaim The Net. September 30, 2019.
139
    Montgomery, Jack. “Facebook Admits Banning Users for Saying They Are ‘Proud to Be English’,” Breitbart.
April 27, 2020.

                                                     50
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 51 of 118




as the touchstone and greater restrictions placed on groups that engage in actual

offline violence.”140



                                     BANNED AND CENSORED

                                                           168.

On or about September 17, 2019, Defendant Facebook shut down the Israeli Prime

Minister’s communications to his supporters pursuant to its policies regarding

election integrity. 141

                                                           169.

On or about November 18, 2019, Google banned certain conservative websites from

its search results, including The Gateway Pundit and the United West.142

                                                           170.

On or about November 25, 2019, Defendant Twitter suspended the account of The

Post Millennial journalist Andy Ngo for violating its rules against hateful conduct

for tweeting, “The US is one of the safest countries for trans people. The murder rate




140
    Dwyer, Mary and Patel, Faiza. “Facebook’s New ‘Dangerous Individuals and Organizations’ Policy Brings More
Questions Than Answers,” Brennan Center for Justice, July 21, 2021.
141
    Frazin, Rachel. “Netanyahu: Facebook caved to 'pressure of the Left' by suspending chatbot over illegal polls,” The
Hill. September 17, 2019.
142
    Bokhari, Allum. “WSJ Investigation Further Debunks Google’s Claim of No Manual Intervention in Searches,”
Breitbart. November 18, 2019.

                                                          51
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 52 of 118




of trans victims is actually lower than that for cis population. Also, who is behind

the murders? Mostly black men.”143

                                                          171.

On or about November 28, 2019, Defendant Twitter permanently suspended a

campaign account belonging to Minnesota Republican congressional candidate

Danielle Stella for violations of Twitter rules, for tweeting that her opponent should

be tried and executed if, as was being reported, she had passed sensitive information

to Iran.144

                                                          172.

On or about December 8, 2019, Defendant Twitter suspended the accounts of Fox

News Host Pete Hegseth, journalist Andy Ngo, and filmmaker Mike Cernovich for

referring to the manifesto and social media posts of Mohammed Alshamrami, a

Saudi Air Force officer and student of Naval Aviation Schools Command killed by

police after shooting three U.S. sailors dead and injuring eight others.145




143
    Wakerell-Cruz, Roberto. “Twitter suspends journalist Andy Ngo,” The Post Millennial. November 25, 2019;
Parker, Tom. “Twitter suspends journalist Andy Ngo for tweeting about transgender violence statistics,” Reclaim The
Net. November 25, 2019.
144
    Folley, Aris. “Omar challenger banned from Twitter over post saying she ‘should be tried for treason and hanged’,”
The Hill. November 28, 2019; Tayor, Derrick Bryson. “Twitter Permanently Suspends Accounts of Ilhan Omar’s
Potential Challenger,” The New York Times. November 30, 2019; Bekiempis, Victoria. “Ilhan Omar’s Republican
opponent in Twitter ban over ‘hanging’ posts,” The Guardian. November 28, 2019.
145
    Rankovic, Didi. “Twitter suspends journalists for reporting on the Pensacola shooter’s motives,” Reclaim The Net.
December 9, 2019; Slatz, Anna. “Journalists suspended from Twitter for reporting on Pensacola Shooter’s
motivation,” The Post Millennial. December 8, 2019.

                                                         52
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 53 of 118




                                                          173.

On or about January 4, 2020, Defendant Twitter banned David Marcus, Senior

Contributor to The Federalist and New York Post columnist, for supporting the

bombing of Iran if Iran retaliated for the killing of Qasem Soleimani.146

                                                          174.

On or about January 29, 2020, Defendant Twitter forced Nevada GOP congressional

primary candidate Mindy Robinson, columnist Anna Slatz, Newsmax host John

Cardillo, and the pro-Bernie Sanders YouTuber “shoe0nhead,” to delete a satirical

image deemed to violate its Election Integrity Policy in order to regain access to their

accounts.147

                                                          175.

On or about January 30, 2020, Twitter temporarily suspended Katie Hopkins’

account after attending a meeting organized by the Center for Countering Digital

Hate. 148




146
    Emmons, Libby. “Federalist writer banned from Twitter for speaking out against Iran,” The Post Millennial. January
4, 2020.
147
     Pramod, Naga. “Katie Hopkins temporarily suspended from Twitter after activists call for censorship,” Reclaim
The Net. January 30, 2020; Bokhari, Allum. “Twitter Blacklist Katie Hopkins After Pressure From ‘Anti-Hate”
Group,” Breitbart. January 30, 2020; “Katie Hopkins’ Twitter account suspended,” The Guardian, January 30, 2020.
https://www.theguardian.com/media/2020/jan/31/katie-hopkins-twitter-account-suspended.
148
     Pramod, Naga. “Katie Hopkins temporarily suspended from Twitter after activists call for censorship,” Reclaim
The Net. January 30, 2020; Bokhari, Allum. “Twitter Blacklist Katie Hopkins After Pressure From ‘Anti-Hate”
Group,” Breitbart. January 30, 2020; “Katie Hopkins’ Twitter account suspended,” The Guardian, January 30, 2020.
https://www.theguardian.com/media/2020/jan/31/katie-hopkins-twitter-account-suspended.

                                                         53
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 54 of 118




                                                        176.

On or about February 4, 2020, Google censored a video of a speech on the floor of

the United States Senate by U.S. Senator Rand Paul discussing matters of President

Donald Trump’s first impeachment and Eric Ciaramella.149

                                                        177.

On or about March 7, 2020, Defendant Facebook banned advertisements for medical

face masks after public health officials encouraged the public to avoid buying

medical face masks, claiming masks do little to protect average civilians, but a

shortage could put medical professionals at risk. 150

                                                        178.

On or about March 7, 2020, Defendant Facebook stated, “[w]e already prohibit

people from making health or medical claims related to the coronavirus in product

listings on commerce surfaces, including those listings that guarantee a product will

prevent someone from contracting it.”151




149
    Bokhari, Allum. “Google Censors the Congressional Record,” Breitbart. February 4, 2020.
150
    Moreno, J. Edward. “Facebook to ban ads for medical masks,” The Hill. March 7, 2020.
151
    Moreno, J. Edward. “Facebook to ban ads for medical masks,” The Hill. March 7, 2020.

                                                       54
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 55 of 118




                                                          179.

On or about March 17, 2020, Samuel Finkelstein was suspended from Twitter for

encouraging senior citizens to vote by mail in Florida to prevent the spread of

coronavirus.152

                                                          180.

On or about March 31, 2020, Defendant Facebook censored Brazilian President Jair

Bolsonaro regarding Hydroxychloroquine treatment for COVID19 to prevent the

spread of “misinformation that could lead to physical harm,” pursuant to its policy

specifically prohibiting false claims relating to cures, treatments, the availability of

essential services, and outbreak locations.153

                                                          181.

Defendant Facebook allows instructions on how to perform back-alley abortions on

its platform.

                                                          182.

On or about April 28, 2020, Defendant Facebook deleted the event page for “Rally

on the State Capitol Lawn,” an April 30, 2020 protest against extending Michigan’s

state of Emergency, as well as posts on anti-stay-at-home protests in California, New



152
    Parker, Tom. “Political activist Samuel Finkelstein suspended from Twitter after warning about coronavirus risks
for seniors,” Reclaim The Net. March 17, 2020.
153
    Nolan, Lucas. “Coronavirus: Facebook Removes Post by Brazilian President Jair Bolsonaro,” Breitbart. March
31, 2020; Constine, Josh. “Facebook deletes Brazil president’s coronavirus misinfo post,” TechCrunch. March 30,
2020.

                                                        55
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 56 of 118




Jersey and Nebraska, for defying the government’s guidance on social distancing

because the event page did not include clear calls for social distancing.154

                                                          183.

On or about May 17, 2020, Google removed the app Podcast Addict from its

marketplace, with over nine million app downloads and two billion podcast

downloads, on the grounds that some of the podcasts it indexes reference COVID-

19 without the approval of government entities or public health organizations. 155

                                                          184.

On or about May 17, 2020, Google told Xavier Guillemane, the developer of Podcast

Addict, that the app had been removed from the marketplace due to its references to

COVID-19 : “Pursuant to Section 8.3 of the Developer Distribution Agreement and

the Enforcement policy, apps referencing COVID-19, or related terms, in any form

will only be approved for distribution on Google Play if they are published,

commissioned, or authorized by official government entities or public health

organizations.” 156




154
    Hicks, Justin P. “Facebook deletes event for stay-at-home protest in Michigan,” Michigan Live. April 28, 2020.
155
    Parker, Tom. “Google bans Podcast Addict app after 9 years for letting users play podcasts that reference COVID-
19,” Reclaim The Net. May 17, 2020.
156
    Parker, Tom. “Google bans Podcast Addict app after 9 years for letting users play podcasts that reference COVID-
19,” Reclaim The Net. May 17, 2020.

                                                        56
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 57 of 118




                                                         185.

On or about May 17, 2020, Google demanded Xavier Guillemane remove references

to COVID-19 and keywords related to COVID-19 from the app in order to get the

app returned to the marketplace.157

                                                         186.

On or about May 23, 2020, Defendant Twitter banned Imam Tawhidi, The Imam of

Peace, after he refused to remove a satirical image referencing a widely reported link

between COVID-19 spread and an Indian extremist group tied to Al Qaeda.158

                                                         187.

On or about May 25, 2020, Josh Lekach lost his verified status on Twitter after

posting an interview with Plaintiff Candidate Loomer.159

                                                         188.

On or about May 27, 2020, Defendant Twitter censored President Donald Trump’s

tweet which read, “There is NO WAY (ZERO!) that Mail-In Ballots will be anything

less than substantially fraudulent. Mailboxes will be robbed, ballots will be forged

& even illegally printed out & fraudulently signed.”160



157
    Parker, Tom. “Google bans Podcast Addict app after 9 years for letting users play podcasts that reference COVID-
19,” Reclaim The Net. May 17, 2020.
158
    Emmons, Libby. “Popular activist Imam of Peace suspended from Twitter for sharing anti-terrorist meme,” The
Post Millennial. May 23, 2020.
159
    Pramod, Naga. “Twitter accused of retaliating against journalists by removing verified status,” Reclaim The Net.
May 25, 2020.
160
    Walker, James. “After Twitter Fact-Checks Donald Trump's Tweet, President Threatens to Close Down Social
Media Platforms,” Newsweek. May 27, 2020.

                                                        57
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 58 of 118




                                                         189.

On or about May 28, 2020, President Donald Trump’s tweet was censored by an

undisclosed third-party non-profit for violating Twitter’s civic integrity policy.161

                                                         190.

On or about May 29, 2020, tweets justifying George Floyd riots as a form of protest

or defending them as a reasonable response were not censored or otherwise removed

as a violation of Twitter policy.162

                                                         191.

On or about May 29, 2020, Defendant Twitter announced its policy regarding the

Glorification of Violence was violated by a statement from the President of the

United States for its “connection to violence and the risk it could inspire similar

actions today.” 163

                                                         192.

On or about June 1, 2020, Defendant Twitter censored U.S. Representative Matt

Gaetz for violating its Glorification of Violence policy for tweeting “Now that we




161
    Oremus, Will. “Inside Twitter’s Decision to Fact-Check Trump’s Tweets,” OneZero. May 28, 2020.
162
    Conger, Kate. “Twitter Places Warning on Congressman’s Tweet for Glorifying Violence,” The New York Times.
June 1, 2020; Kelly, Makena. “Twitter takes action against Rep. Matt Gaetz for glorifying violence,” The Verge, June
1, 2020; Coleman, Justine. “Twitter restricts tweet from Gaetz for glorifying violence,” The Hill. June 1, 2020.
163
    Montgomery, Jack. “Twitter Censors Trump Minneapolis Tweet, Accuses Him of ‘Glorifying Violence’,”
Breitbart. May 29, 2020; Porter, Jon. “Twitter restricts Trump Tweet for ‘glorifying violence’,” The Verge, May 29,
2020.

                                                        58
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 59 of 118




clearly see Antifa as terrorists, can we hunt them down like we do those in the Middle

East?”164

                                                         193.

On or about June 3, 2020, Defendant Twitter locked Michelle Malkin out of her

account for violating its “Violent Threats Policy” until she deleted her tweet, “In

case I wasn’t clear: violent criminal looters should be shot.”165

                                                         194.

On or about June 10, 2020, Defendant Facebook partially lifted its advertising ban

on face masks to allow third-party businesses to advertise cloth masks and other non-

medical face coverings like bandanas.166

                                                         195.

On or about June 15, 2020, a Google spokesperson said that Google had

demonetized the websites for The Federalists and Zero Hedge after determining they

violated its policies on content related to race. 167




164
    Conger, Kate. “Twitter Places Warning on Congressman’s Tweet for Glorifying Violence,” The New York Times.
June 1, 2020; Kelly, Makena. “Twitter takes action against Rep. Matt Gaetz for glorifying violence,” The Verge, June
1, 2020; Coleman, Justine. “Twitter restricts tweet from Gaetz for glorifying violence,” The Hill. June 1, 2020.
165
    Bokhari, Allum. “Michelle Malkin Censored by Twitter for Supporting the Use of Force Against Violent
Criminals,” Breitbart. June 3, 2020.
166
    Statt, Nick. “Facebook lifts ad ban on non-medical face masks,” The Verge. June 10,2020.
167
    Robertson, Adi. “Google Ads bans Zero Hedge for racist content, but reverses decision on The Federalist,” The
Verge. June 16, 2020; Ross, Chuck. “Google to Ban Ads on The Federalist After NBC News Raises Concerns About
George Floyd Protest Articles,” Daily Caller. June 16, 2020; Fraser, Adele-Momoko. “Google bans website
ZeroHedge from its ad platform over comments on protest articles,” NBC News. June 16, 2020.

                                                        59
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 60 of 118




                                                        196.

On or about June 16, 2020, Google banned Zero Hedge, a conservative website, from

its advertising platform over policy violations found in the comments section of

stories about Black Lives Matter protests.168

                                                        197.

On or about June 16, 2020, Google announced The Federalist had been warned

about policy violations but still had three (3) days to remove the violations before a

ban would go into effect.169

                                                        198.

Google’s announcements about Zero Hedge and The Federalist occurred shortly

after the Center for Countering Digital Hate reported that these websites published

racist articles about the George Floyd protests – Zero Hedge published an article

claiming that protests were fake, and The Federalist published an article claiming

the media had been lying about looting and violence during the protests – and

projected that the websites would make millions of dollars through Google Ads. 170


168
    Robertson, Adi. “Google Ads bans Zero Hedge for racist content, but reverses decision on The Federalist,” The
Verge. June 16, 2020; Ross, Chuck. “Google to Ban Ads on The Federalist After NBC News Raises Concerns About
George Floyd Protest Articles,” Daily Caller. June 16, 2020; Fraser, Adele-Momoko. “Google bans website
ZeroHedge from its ad platform over comments on protest articles,” NBC News. June 16, 2020.
169
    Robertson, Adi. “Google Ads bans Zero Hedge for racist content, but reverses decision on The Federalist,” The
Verge. June 16, 2020; Ross, Chuck. “Google to Ban Ads on The Federalist After NBC News Raises Concerns About
George Floyd Protest Articles,” Daily Caller. June 16, 2020; Fraser, Adele-Momoko. “Google bans website
ZeroHedge from its ad platform over comments on protest articles,” NBC News. June 16, 2020.
170
    Robertson, Adi. “Google Ads bans Zero Hedge for racist content, but reverses decision on The Federalist,” The
Verge. June 16, 2020; Ross, Chuck. “Google to Ban Ads on The Federalist After NBC News Raises Concerns About
George Floyd Protest Articles,” Daily Caller. June 16, 2020; Fraser, Adele-Momoko. “Google bans website
ZeroHedge from its ad platform over comments on protest articles,” NBC News. June 16, 2020.

                                                       60
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 61 of 118




                                                        199.

On or about June 17, 2020, Google announced that The Federalist had removed the

comments that violated its policies and that it would take no further action.171

                                                        200.

On or about June 19, 2020, Katie Hopkins’ Twitter account had over one million

followers and had been retweeted by the President of the United States.172

                                                        201.

On or about June 19, 2020, Katie Hopkins was permanently banned from Twitter for

violating its Hateful Conduct Policy shortly after her verified status was removed.173

                                                        202.

On or about June 19, 2020, Defendant Twitter did not specify which tweets of Katie

Hopkins violated its policies but pointed to their rules surrounding comments “based

on a wide range of personal characteristics such as race, gender or sexual

orientation.” 174




171
    Robertson, Adi. “Google Ads bans Zero Hedge for racist content, but reverses decision on The Federalist,” The
Verge. June 16, 2020; Ross, Chuck. “Google to Ban Ads on The Federalist After NBC News Raises Concerns About
George Floyd Protest Articles,” Daily Caller. June 16, 2020; Fraser, Adele-Momoko. “Google bans website
ZeroHedge from its ad platform over comments on protest articles,” NBC News. June 16, 2020.
172
    Slawson, Nicola and Waterson, Jim. “Katie Hopkins permanently removed from Twitter,” The Guardian. June
19, 2020; Pramond, Naga. “Katie Hopkins banned from Twitter,” Reclaim The Net. June 19, 2020.
173
    Slawson, Nicola and Waterson, Jim. “Katie Hopkins permanently removed from Twitter,” The Guardian. June
19, 2020; Pramond, Naga. “Katie Hopkins banned from Twitter,” Reclaim The Net. June 19, 2020.
174
    Slawson, Nicola and Waterson, Jim. “Katie Hopkins permanently removed from Twitter,” The Guardian. June
19, 2020; Pramond, Naga. “Katie Hopkins banned from Twitter,” Reclaim The Net. June 19, 2020.

                                                       61
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 62 of 118




                                                          203.

On or about June 19, 2020, the “Center for Countering Digital Hate” announced,

“We celebrate [Katie Hopkins] losing her privileged platform but regret it took so

long.”175

                                                          204.

On or about June 23, 2020, Defendant Twitter censored President Donald Trump for

violating its abusive behavior policy for threatening harm against an identifiable

group when he tweeted that force would be used to prevent the establishment of an

autonomous zone in Washington, D.C.176

                                                          205.

On July 20, 2021, U.S. Senator Josh Hawley called the Center for Countering Digital

Hate a “foreign dark money group” that is “attempting to influence American

democracy."177




175
    Slawson, Nicola and Waterson, Jim. “Katie Hopkins permanently removed from Twitter,” The Guardian. June 19,
2020; Pramond, Naga. “Katie Hopkins banned from Twitter,” Reclaim The Net. June 19, 2020.
176
    Samuels, Brett. “Twitter flags Trump tweet on protesters for including 'threat of harm',” The Hill. June 23, 2020;
Robertson, Adi. “Twitter restricts Trump threat of serious force against protesters,” The Verge. June 23, 2020.
177
    Colton, Emma. “Hawley says Biden claim 12 people responsible for COVID misinformation comes from 'foreign
dark money group': Hawley wants answers on who funds the Center for Countering Digital Hate,” FOXBusiness
July 20, 2021.

                                                         62
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 63 of 118




              COMMUNITY EFFECTS OF BANNING & CENSORING

                                                     206.

Prior to 2017, Defendant Twitter’s blue check-mark verification was a way for users

to ensure that they were communicating with the correct account – not a different

account that was a clone, parody or scam. 178

                                                     207.

Defendant Twitter changed its blue check-mark verification process in 2017 from a

public verification process to a system that operates at Twitter’s discretion.179

                                                     208.

Twitter has been accused of withholding verification from public figure journalists

whose accounts it knows to be genuine such as Project Veritas reporter James

O’Keefe. 180

                                                     209.

Twitter’s “sensitive media” warning hides content from anyone not logged in to their

Twitter account and from some users who are logged in. 181




178
    Harper, Cindy. “Epic Games CEO Tim Sweeney criticizes   Twitter’s practice of revoking verification badges as
punishment,” Reclaim The Net. February 22, 2020.
179
    Harper, Cindy. “Epic Games CEO Tim Sweeney criticizes   Twitter’s practice of revoking verification badges as
punishment,” Reclaim The Net. February 22, 2020.
180
    Harper, Cindy. “Epic Games CEO Tim Sweeney criticizes   Twitter’s practice of revoking verification badges as
punishment,” Reclaim The Net. February 22, 2020.
181
    Parker, Tom. “Twitter hides James O’Keefe tweet about   CNN investigative report behind “sensitive media”
notice,” Reclaim The Net. October 14, 2019.

                                                   63
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 64 of 118




                                                       210.

On October 20, 2019, Defendant Zuckerberg personally defended Defendant

Facebook’s announced policy at Georgetown University in Washington, D.C.,

saying that he does not “think it’s right for a private company to censor politicians

or the news in a democracy … Political ads can be an important part of voice,

especially for local candidates and up and coming challengers that the media might

not otherwise cover, … Banning political ads favors incumbents and whoever the

media chooses to cover.”182

                                                       211.

On or about February 22, 2020, according to Twitter’s rules, “Twitter reserves the

right to remove verification at any time without notice – Reasons for removal may

reflect behaviors on and off Twitter that include:

        ● Intentionally misleading people on Twitter by changing one’s display name

        or bio.

        ● Promoting hate and/or violence against, or directly attacking or threatening

        other people on the basis of race, ethnicity, national origin, sexual orientation,

        gender, gender identity, religious affiliation, age, disability, or disease.

        Supporting organizations or individuals that promote the above.” 183


182
    Rodrigo, Chris Mills. “Zuckerberg launches public defense of Facebook as attacks mount,” The Hill, October
20/2019.
183
    Harper, Cindy. “Epic Games CEO Tim Sweeney criticizes Twitter’s practice of revoking verification badges as
punishment,” Reclaim The Net, February 22, 2020.

                                                      64
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 65 of 118




                                                          212.

During March 2020, Facebook applied warning labels on about 40 million posts

related to the pandemic, based on roughly 4,000 articles reviewed by its third-party

fact checkers. When posts including those labels appeared on the news feed, users

did not go on to view the original content in 95 percent of cases.184

                                                          213.

On or about April 16, 2020, Defendant Facebook Vice President of Integrity, Guy

Rosen, announced Facebook sends users a message in their newsfeed notifying them

they have seen a since-deleted post and connecting them to a list of COVID-19

myths that have been debunked by the World Health Organization (WHO) and other

“authoritative sources.”185

                                                          214.

On or about May 12, 2020, Defendant Twitter banned former NY-11 Republican

Congressional primary candidate and celebrity podcaster Joe Saladino, aka Joey

Salads, stopping his ability to reach voters and supporters and discouraging him from

running for office again.186




184
     Rodrigo, Chris Mills. “Facebook to alert users exposed to coronavirus misinformation,” The Hill, April 16, 2020;
Dixit, Pranav. “If You Interacted With A Coronavirus Hoax on Facebook, You’ll Soon Get An Alert,” BuzzFeed,
April 16, 2020.
185
    Rodrigo, Chris Mills. “Facebook to alert users exposed to coronavirus misinformation,” The Hill, April 16, 2020;
Dixit, Pranav. “If You Interacted With A Coronavirus Hoax on Facebook, You’ll Soon Get An Alert,” BuzzFeed,
April 16, 2020.
 186
     Bokhari, Allum. “GOP Politician and YouTube Star Joey Salads Banned by Twitter,” Breitbart, May 13, 2020.

                                                         65
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 66 of 118




                                                         215.

On or about June 8, 2020, impressions and engagements for the Price of Reason’s

Twitter account dropped in growth by 94% and 93%, respectively, after being

shadowbanned.187



                             LOOMER BACKGROUND & INJURY

                                                         216.

On or about August 12, 2018, Defendant Facebook temporarily banned Ms. Loomer

for 30 days.

                                                         217.

On November 21, 2018, Defendant Twitter permanently banned Ms. Loomer for

“hateful” conduct.188

                                                         218.

On May 2, 2019, Ms. Loomer was permanently banned from Defendant Facebook’s

platform for appearing with Gavin McInnes and praising Faith Goldy, both of whom

were previously designated as “hate figures” by Defendant Facebook.189




187
    Parker, Tom. “Twitter shadowbans viral tweets,” Reclaim The Net, June 8, 2020.
188
    Harper, Cindy, “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020.
189
    Ortutay, Barbara. “Facebook bans ‘dangerous individuals’ cited for hate speech,” Associated Press. May 3, 2019;
Lee, Dave. “Facebook bans 'dangerous individuals',” BBC News, May 3, 2019.

                                                        66
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 67 of 118




                                                          219.

On August 2, 2019, Ms. Loomer announced her political candidacy for the

Republican nomination for the 21st Congressional District of Florida.

                                                          220.

On or about September 16, 2019, Defendant Facebook told the U.S. District Court

for the Southern District of Florida that it labeled Ms. Loomer as a “dangerous”

person who promotes hate.190

                                                          221.

On or about September 16, 2019, Defendant Facebook admitted to the U.S. District

Court for the Southern District of Florida that its labeling of Ms. Loomer as a

Dangerous Individual is an opinion that is not capable of being proven true or

false.191

                                                          222.

On or about September 16, 2019, Defendant Facebook told the U.S. District Court

for the Southern District of Florida that as a publisher it has an absolute protection

under the First Amendment from liability for failing to publish Ms. Loomer’s

messages.192



190
    Case 9:19-cv-80893-RS Document 25 Entered on FLSD Docket 09/16/2019
191
    Rankovic, Didi. “Facebook says it’s a publisher, invokes First Amendment rights to call Laura Loomer a
‘dangerous individual’,” Reclaim the Net, September 17, 2019.
192
    Smith, Jennifer. “Facebook refers to itself as a publisher and says it can censor ANYONE it wants because it's an
'editorial decision' in new court filing a year after Mark Zuckerberg insisted to congress it was a tech company,”
Dailymail.com, September 20, 2019.

                                                         67
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 68 of 118




                                                        223.

In October 2019, Defendant Zuckerberg said, “We think people should be able to

hear what politicians have to say. I don’t think it’s right for tech companies to censor

politicians in a democracy.”193

                                                        224.

In reliance upon Defendant Facebook’s promised access to its networks, Plaintiffs

Candidate Loomer and Loomer Campaign raised money and committed significant

time and effort in preparation for acting on Defendant Facebook’s fraudulent

representation of such promised access to its network.

                                                        225.

On or about November 11, 2019, Loomer Campaign attempted to set up its official

campaign page for Candidate Loomer as a candidate rather than a private citizen.194

                                                        226.

On November 12, 2019, Defendant Facebook banned the “Laura Loomer for

Congress” page, the official campaign page for Candidate Loomer, from its

platform, and subsequently deleted all messages and correspondence with the

campaign.



193
    Randkovic, Didi. “Facebook refuses Laura Loomer, weeks after Zuckerberg said they won’t censor politicians,”
Reclaim the Net, November 15, 2019; Bokhari, Allum. “Politician’s Won’t Be Allowed On Facebook If They’ve
Previously Been Banned,” Breitbart, November 14, 2019.
194
    Harper, Cindy, “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020.

                                                      68
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 69 of 118




                                                     227.

Defendant Facebook denied Candidate Loomer and Loomer Campaign access to its

networking platform under the pretext of violations of its “hate speech policy.”

                                                     228.

Candidate Loomer and Loomer Campaign did not exist at the time of any alleged

violations of Defendant Facebook’s “hate speech policy” by Ms. Loomer, and

therefore could not be in violation of said policy.

                                                     229.

Candidate Loomer and Loomer Campaign did not violate any other known policies

of Defendant Facebook, including Coordinated Inauthentic Behavior (CIB) or

policies against promoting and glorifying violence.

                                                     230.

On November 14, 2019, in response to inquiries regarding Plaintiffs’ banning,

Defendant Facebook changed its publicly stated policy on political candidates to

now exclude any candidates who had been banned from its services.195

                                                     231.

Political campaigns for national office in 2020 faced unique circumstances due to

lockdowns and other restrictions put into effect as a result of the COVID-19




195
  Bokhari, Allum. “Politician’s Won’t Be Allowed On Facebook If They’ve Previously Been Banned,” Breitbart,
November 14, 2019.

                                                    69
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 70 of 118




pandemic which made traditional means of campaigning, such as door knocking,

public events, etc., impossible, thereby mandating reliance on digital and social

media to reach and interact with prospective voters.

                                                       232.

Facebook refused to allow Plaintiff Candidate Loomer to conduct her campaign on

its platform after Plaintiff declared as a Republican candidate with the Federal

Elections Commission (FEC) and after winning the Republican nomination.196

                                                       233.

On April 11, 2019, at the annual meeting in Orlando, Florida of the Association of

National Advertisers (ANA), P&G’s Chief Brand Officer and Chairman of the ANA

Board of Directors, Marc Pritchard, announced the creation of a “New Media Supply

Chain” wherein P&G would require advertising platforms to “prove” that their

content was “under their complete control.”197

                                                       234.

On or about May 2019, a knowledgeable and reliable source confirmed that P&G,

consistent with and in follow up to the April 11, 2019 public remarks, provided a list

of persons who were to be banned from Facebook unless those persons disavowed

the Proud Boys.



196
    Harper, Cindy, “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020.
197
    Keynote address April 11, 2019, at the ANA Media Conference in Orlando, FL.

                                                      70
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 71 of 118




                                                         235.

On or about May 2019, a knowledgeable and reliable source stated that P&G

demanded Facebook label Plaintiff Ms. Loomer a “Dangerous Individual” and ban

her from using Facebook’s platform.

                                                         236.

On or about June 24, 2020, Defendant Facebook said, “It's normal for us to have

conversations with advertisers and discuss issues, including policy matters. This is

something we do routinely and will keep doing.”198

                                                         237.

On or about June 24, 2020, Marc Pritchard, vowed that P&G would not advertise

“on or near content that we determine is hateful, denigrating or discriminatory.”199

                                                         238.

On or about June 24, 2020, Proctor & Gamble (“P&G”) met with civil-rights group

Color of Change to discuss Facebook’s track record of removing content that

violates their standards, according to people familiar with the matter.200




198
    Rodrigo, Chris Mills. “Facebook executive acknowledges ‘trust deficit’ to advertisers,” The Hill, June 24, 2020;
Fung, Brian. “Facebook executive acknowledges 'trust deficit' to advertisers Facebook exec admits there is a 'trust
deficit' as advertiser boycott accelerates,” CNN Business. June 24, 2020.
199
    Rodrigo, Chris Mills. “Facebook executive acknowledges ‘trust deficit’ to advertisers,” The Hill, June 24, 2020;
Fung, Brian. “Facebook executive acknowledges 'trust deficit' to advertisers Facebook exec admits there is a 'trust
deficit' as advertiser boycott accelerates,” CNN Business. June 24, 2020.
200
    Vranica, Suzanne. “Facebook Tries to Contain Damage as Verizon Joins Ad Boycott,” The Wall Street Journal,
June 26, 2020.

                                                        71
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 72 of 118




                                                           239.

On or about June 24, 2020, Marc Pritchard, P&G’s chief brand officer, said, “Where

we determine our standards are not met, we will take action, up to and including

stopping spending, just like we've done before.”201

                                                           240.

Plaintiff Candidate Loomer’s campaign was run as a separate entity and Facebook’s

decision to directly prevent Plaintiff Candidate Loomer’s campaign from advertising

raises questions about election fairness.202

                                                           241.

On or about July 3, 2020, Plaintiff Candidate Loomer was informed that if a Political

Action Committee (PAC) attempted to advertise to promote her campaign on

Facebook, its ads would be taken down.203

                                                           242.

On or about July 4, 2020, Plaintiff Candidate Laura Loomer’s election campaign ads

on Facebook were prevented, thereby providing her Democrat opponent an unfair

advantage during the general election.204


201
    Coleman, Justine. “Most of Facebook's top 100 advertisers have not joined the boycott: analysis,” The Hill, July 1,
2020; Fung Brian, and Yurieff, Kaya. “Hundreds of brands are pulling ads from Facebook. Its largest advertisers
aren’t among them,” CNN Philippines, July 2, 2020.
202
    Harper, Cindy, “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020.
203
    Harper, Cindy, “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020.
204
    Harper, Cindy, “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020.

                                                          72
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 73 of 118




                                                       243.

On or about July 4, 2020, and thereafter Plaintiff Candidate Loomer’s Democrat

opponent, Lois Frankel, was running ads on Facebook to reach voters and raise

money.205

                                                       244.

On or about July 4, 2020, Defendant Facebook said its new policy is that nothing

about Laura Loomer is permitted on Facebook, and that for the duration of the

election cycle the Loomer campaign will not have access to run any of its own ads.206

                                                       245.

On or about, and after July 4, 2020, Plaintiff Candidate Loomer was the only federal

candidate in the nation banned from advertising on Facebook.207

                                                       246.

On August 18, 2020, Plaintiff Candidate Loomer won the Republican primary for

U.S. House Florida District 21.




205
    Harper, Cindy. “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020
206
    Harper, Cindy. “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020
207
    Harper, Cindy. “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim the Net, July 4, 2020

                                                      73
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 74 of 118




                                                       247.

On August 19, 2020, Defendant Twitter announced that Plaintiffs would still not be

allowed to use Twitter despite winning the Republican primary election.208

                                                       248.

On November 3, 2020, the general election for U.S. House Florida District 21 was

called for Plaintiff Candidate Loomer’s Democrat opponent, Lois Frankel.

                                                       249.

On February 24, 2021, Plaintiff Candidate Loomer filed and announced her 2022

congressional campaign for Florida’s 21st District,209 telling supporters that she

would be switching Congressional districts amid the redistricting of Florida's

districts. On September 1, 2021, Loomer filed paperwork with the FEC and switched

her Congressional district to Florida’s 11th district to unseat Congressman Daniel

Webster.

                                                       250.

For every single fundraising quarter of her candidacy, Loomer proved herself to be

the most viable candidate in the race and significantly out-fundraised 40-year

incumbent Daniel Webster every single fundraising quarter on the campaign trail.




208
    Bokhari, Allum. “Twitter Refuses to Reinstate Laura Loomer’s Account After Primary Win,” Breitbart. August
20, 2020.
209
    Manjarres, Javier. “Laura Loomer Announces 2022 Congressional Run,” The Floridian, February 24, 2021; As a
result of state redistricting, Plaintiff Loomer is now running for Florida’s 11 th District.

                                                      74
       Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 75 of 118




                                           251.

On August 23, 2022 the Republican primary election for U.S. House Florida District

11 was called for Plaintiff Candidate Loomer’s primary opponent and incumbent,

Daniel Webster by only 5,210 votes. Loomer refused to concede and is investigating

and challenging the results of the election amidst admissions of misconduct from

within multiple Supervisors of Elections offices within her district. Loomer’s

campaign was also the only de-platformed campaign in the nation. Daniel Webster

had the smallest margin for any incumbent who ran for re-election in the State of

Florida. With such a small margin between Loomer and Webster, Loomer’s

blacklisting and bans from social media as a federal candidate cannot be

underestimated in the purported results of the election.

                                           252.

Plaintiff Ms. Loomer has suffered significant and continuing damages from

Defendant Facebook’s violations of Sections 1951, 1952, 1343, 2339, and 2385 of

Title 18 of the United States Code, in the form of reputational damage, lost

employment opportunities due to employers’ fear of being similarly banned for mere

association per Defendants’ policies, and lost future profits.

                                           253.

Plaintiffs Candidate Loomer and Loomer Campaign have suffered significant and

continuing damages from Defendant Facebook’s violations of Sections 1951, 1952,


                                          75
       Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 76 of 118




1343, 2339, and 2385 of Title 18 of the United States Code, in the form of

reputational damage, deprivation of equal access to voters and campaign donations,

and the loss of votes in a federal election.



   RECENT REVELATIONS ABOUT FBI AGENTS AND WHITE HOUSE

STAFF CONSPIRING WITH FACEBOOK AND TWITTER TO INTERFERE

                                 WITH ELECTIONS

                                               254.

On August 25, 2022, Mark Zuckerberg appeared on The Joe Rogan Experience, the

largest podcast in the world, hosted by Joe Rogan. During the interview, he made

the stunning admission that Facebook, at the request of the FBI, algorithmically

suppressed stories about the Hunter Biden laptop scandal during the weeks leading

up to the 2020 Presidential election.

                                               255.

Zuckerberg stated “[t]he FBI basically came to us and spoke to some folks on our

team and was like ‘Hey, just so you know, you should be on high alert. We thought

that there was a lot of Russian propaganda on the 2016 election. We have it on notice

that basically there’s about to be some kind of dump similar to that.”




                                           76
       Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 77 of 118




                                            256.

In October of 2020, The New York Post published content from the laptop revealing

that Joe Biden was lying when he said never spoke about family business with his

relatives. Emails on the hard drive also showed that that Biden stood to profit from

his son’s business dealings and close ties with the Chinese Communist Party.

                                            257.

Within moments of the Post story being published, Facebook announced through a

spokesperson (a former Democrat Party operative) that the social media giant would

be “reducing its distribution on our platform” pending verification by third-party

fact-checkers.

                                            258.

This action was consistent with whistleblower reports from inside the FBI made to

U.S. Senators Ron Johnson and Chuck Grassley that individuals within the FBI

leadership were instructing agents to not investigate the contents of the Hunter Biden

laptop. These whistleblowers also reported that the FBI did not even begin to

examine the contents of the laptop until after the 2020 election, more than a year

after they had received it. Admissions by FBI whistleblowers and Mark Zuckerberg

indicate that these decisions and the direct coordination with Facebook were carried

out in an effort to influence the results of the 2020 election.




                                           77
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 78 of 118




                                                         259.

On August 12, 2022, prominent writer and critic of the United States’ response to

the COVID-19 pandemic, Alex Berenson, revealed that he had been banned from

Twitter at the urging of White House officials in the current Biden administration.

This was revealed from internal Slack communications Berenson obtained during

litigation against Twitter. In a rare move in litigations against social media giants,

Twitter settled the lawsuit and allowed Berenson back on the platform.

                                                         260.

These admissions210 are yet two more indications of a wide-ranging, illegal and

fraudulent conspiracy among big-tech, other elements within corporate America and

individuals within the Executive Branch of the United States government to silence

conservative voices and thus interfere with the fair administration of American

elections. This has led to a collapse of public confidence in these institutions, as

demonstrated for example by recent polling showing a plurality of independent

voters no longer trust the FBI and the DOJ. By any measure, this is an extremely

troubling sign for the social and political cohesion of the American republic, as well

as trust in the concept of free and fair elections in America.




210
  These acts by employees of United States agency employees to interfere in elections are in violation of 18 U.S.C.
595.

                                                        78
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 79 of 118




                                                       261.

Given the fact that the FBI has been exposed by Mark Zuckerberg in a personal

admission of working with Facebook to target individuals on a political basis, their

de-platforming of Ms. Loomer on a personal level and on a political level in her

capacity as a federal candidate for Congress takes on a whole new light with regard

to how big-tech bans are now impacting Ms. Loomer’s Second Amendment right.

In 2019, Facebook designated Ms. Loomer as a “dangerous individual” with zero

due process, for which they justified her bans. And in 2019, Ms. Loomer was

illegally red-flagged by the FBI in its secretive NICS database. Ms. Loomer was

never notified that she was federally prohibited and banned from being able to own

or possess a firearm despite not having a criminal record and never being deemed

mentally unfit by a judge. This prompted U.S. Congressman Paul Gosar (R-AZ) to

write a letter of inquiry to FBI Director Christopher Wray and Attorney General

Merrick Garland about the FBI’s political targeting of Ms. Loomer and their secret

NICS database, which they are using to strip American citizens of their Second

Amendment rights.211




211
   https://www.thegatewaypundit.com/2021/10/biden-gang-reportedly-running-two-secret-lists-used-prevent-
conservatives-owning-guns-laura-loomer-speaks-injustice/

                                                      79
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 80 of 118




                              PREDICATE ACT – 18 U.S.C. §1951

                      Interference with commerce by threats or violence

                                                        262.

Whoever in any way attempts to affect any commodity in commerce by extortion,

meaning the obtaining of property from another, with his consent, induced by

wrongful use of actual or threatened force, fear, or under color of official right,

violates 18 U.S.C. §1951.

                                                        263.

Under its terms of service, Twitter can remove any person from the platform –

including the President of the United States – “at any time for any or no reason.” 212

                                                        264.

“As Twitter made clear, the right to cut off speech lies most powerfully in the hands

of private digital platforms.”213

                                                        265.

“Any control Mr. Trump exercised over the account greatly paled in comparison to

Twitter’s authority, dictated in its terms of service, to remove the account at any time

for any or no reason.”214




212
    Twitter Inc., User Agreement (effective June 18, 2020).
213
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring)
214
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. _____ (2021) (Thomas, J. concurring)

                                                       80
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 81 of 118




                                                          266.

Twitter verification is recognized as increasing a candidate’s visibility and allows a

candidate to reach supporters and donors from its over 125 million daily users.215

                                                          267.

Twitter verification consists of receiving a blue checkmark on a user’s profile and

thereby obtaining better visibility to its 330 million users.216

                                                          268.

Twitter verification is widely recognized as a vital asset to political candidates,

especially those challenging incumbent politicians.217

                                                          269.
                                                                                                218
Google maintains a monopoly over the website advertising market.

                                                          270.

“Google search – at 90% of the market share – is valuable relative to other search

engines because more people use it, creating data that Google’s algorithm uses to

refine and improve search results.”219



215
    Birnbaum, Emily. “Twitter to start verifying candidates when they qualify for primary election,” The Hill,
December 12, 2019.
216
    Scola, Nancy. “Twitter to verify all congressional and gubernatorial primary hopefuls,” Politico. December 12,
2019.
217
    Birnbaum, Emily and Rodrigo, Chris Mills. “Twitter falling short on pledge to verify primary candidates,” The
Hill, February 25, 2020.
218
    “As of October 2020, Google was responsible for almost 90 percent of global desktop search traffic. The company
holds a market share of around 90 percent in a wide range of digital markets, having little to no domestic competition
in many of them. China, Russia, and to a certain extent, Japan, are some of the few notable exceptions, where local
products are more preferred.” https://www.statista.com/statistics/266249/advertising-revenue-of-google/
219
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring)

                                                         81
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 82 of 118




                                                          271.

“The Facebook suite of apps is valuable largely because 3 billion people use it.”220

                                                          272.

“It changes nothing that these platforms are not the sole means for distributing

speech or information … in assessing whether a company exercises substantial

market power, what matters is whether the alternatives are comparable.”221

                                                          273.

Facebook attempts and conspires to obtain contractual, speech and other rights and

intellectual property consensually from its members induced by the threat of banning

and labeling.

                                                          274.

On or about September 23, 2019, Facebook attempted to undermine Snapchat’s

business by discouraging popular figures and influencers from referencing their

Snapchat accounts, and Instagram (which is owned and controlled by Facebook)

threatened to remove the “verified” status (blue tick mark) if influencers posted

competitor Snapchat profile links in their Instagram bio.222




220
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring).
221
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring)
222
    Wells, Georgia and Seetharaman, Deepa. “Snap Detailed Facebook’s Aggressive Tactics in ‘Project Voldemort’
Dossier: Antitrust investigation gives competitors chance to air complaints about Facebook’s hardball tactics,” The
Wall Street Journal. September 24, 2019; Pramod, Naga. “Snapchat dossier containing Facebook anti-competitive
practices to be handed to the FTC,” Reclaim the Net, September 23, 2019.

                                                        82
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 83 of 118




                                                         275.

On or about January 7, 2020, Defendant Facebook’s head of Virtual and Augmented

Reality Division, Andrew Bosworth, said that he believed allowing President Trump

to run digital advertisements on Facebook was responsible for President Trump’s

2016 election victory.223

                                                         276.

Since on or about January 20, 2020, when a post or picture is factchecked by

Defendant Facebook, instead of being presented with sharing options when tapping

the share button, Facebook users are shown a further warning that says their own

pages or websites could face sanctions if they share the content:

        “Independent fact-checkers at Factcheck.org say this post has false

        information. To help stop the spread of false news, a notice will be added to

        your post if you decide to share this. Pages and websites that repeatedly

        publish or share false news will see their overall distribution reduced and be

        restricted in other ways.”224

                                                         277.

In June 2020, Google told Zero Hedge, a libertarian-oriented financial blog, that

Google would demonetize the blog and prevent it from earning revenue through


223
    Issac, Mike, Frenkel, Sheera, and Roose, Kevin. “Don’t tilt scales against Trump, Facebook executive warns,” The
New York Times. January 7, 2020.
224
    Parker, Tom. “Facebook fact-checks and censors Martin Luther King Jr. memes on MLK Day,” Reclaim The Net,
January 20, 2020.

                                                        83
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 84 of 118




Google ads unless Zero Hedge remove and limit its acquisition of intellectual

property.225

                                                        278.

On or about July 14, 2020, Google restored permissions for Zero Hedge to advertise

after Zero Hedge deleted much of its comments section. 226



                              PREDICATE ACT – 18 U.S.C. §1952

      Interstate and Foreign Transportation in Aid of Racketeering Enterprises

                                                        279.

Whoever uses the mail or any facility in interstate or foreign commerce, with intent

to promote, manage, establish, carry on, or facilitate the promotion, management,

establishment, or carrying on, of and thereafter performs or attempts to perform any

unlawful activity, including extortion in violation of the laws of the State in which

committed or of the United States, violates 18 U.S.C. §1952.




225
    Graham, Megan. “Google says Zero Hedge can run Google ads again after removing ‘derogatory’ comments.”
July 14, 2020. https://www.cnbc.com/2020/07/14/google-reinstates-zero-hedge-ad-monetization.html.
226
    Bulleri, Fabrizio. “Google reinstates monetization for Zero Hedge after stricter comment moderation changes,”
Reclaim The Net, July 14, 2020.

                                                       84
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 85 of 118




                                                       280.

Since on or about September 13, 2019, Angel Mom Mary Ann Mendoza, who heads

the Angel Families organization, has had her posts raising awareness about illegal

immigrant crime removed from Facebook as “hate speech.”227

                                                       281.

Mendoza’s son, 32-year-old police officer Brandon Mendoza, was killed in May

2014 by a drunk illegal alien who was driving the wrong way down a highway in

Mesa, Arizona.228

                                                       282.

On or about September 13, 2019, Facebook removed two of Mendoza’s posts raising

awareness about the impact of illegal immigrant crime, as violating its community

standards on hate speech and permanently removed the donation button from the

Angel Families Facebook page as punishment for the claimed violations.229




227
    Binder, John. “Angel Mom’s Facebook Posts on Illegal Immigration Removed for ‘Hate Speech’,” Breitbart,
September 13, 2019; Rankovic, Didi. “Angel Mom’s post about illegal immigrant crime is censored on Facebook for
‘hate speech’,” Reclaim the Net, September 14, 2019.
228
    Binder, John. “Angel Mom’s Facebook Posts on Illegal Immigration Removed for ‘Hate Speech’,” Breitbart,
September 13, 2019; Rankovic, Didi. “Angel Mom’s post about illegal immigrant crime is censored on Facebook for
‘hate speech’,” Reclaim the Net, September 14, 2019.
229
    Binder, John. “Angel Mom’s Facebook Posts on Illegal Immigration Removed for ‘Hate Speech’,” Breitbart,
September 13, 2019; Rankovic, Didi. “Angel Mom’s post about illegal immigrant crime is censored on Facebook for
‘hate speech’,” Reclaim the Net, September 14, 2019.

                                                      85
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 86 of 118




                                                          283.

Lead Stories is a fact-checking website, and like most of Facebook’s over 60 global

fact-checking partners, relies on money from Facebook as critical to its solvency.230

                                                          284.

Mr. Duke and his co-founder Maarten Schenk, who works from his home in

Belgium, were the company’s sole full-time employees until November 2019, when

Facebook told U.S.-based fact-checking partners that it would bankroll a sharp

expansion of their work ahead of the 2020 presidential election.231

                                                          285.

Mr. Duke said Facebook was paying Lead Stories a multiple of the $359,000 it

earned under its 2019 contract.232

                                                          286.

 On or about March 30, 2020, Lead Stories co-founder Alan Duke said about

Facebook users who are fact-checked, “It’s embarrassing when it shows up in their

timeline that they shared something that’s wrong. That’s not something we’ve been

through before with fact checking—this is much more personal.” 233



230
    Horwitz, Jeff.   “Facebook’s Fact Checkers Fight Surge in Fake Coronavirus Claims,” The Wall Street Journal,
March 30, 2020.
231
    Horwitz, Jeff.   “Facebook’s Fact Checkers Fight Surge in Fake Coronavirus Claims,” The Wall Street Journal,
March 30, 2020.
232
    Horwitz, Jeff.   “Facebook’s Fact Checkers Fight Surge in Fake Coronavirus Claims,” The Wall Street Journal,
March 30, 2020.
233
    Horwitz, Jeff.   “Facebook’s Fact Checkers Fight Surge in Fake Coronavirus Claims,” The Wall Street Journal,
March 30, 2020.

                                                        86
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 87 of 118




                                                    287.

On August 6, 2020, Facebook banned ads from the Committee to Defend the

President, a pro-Trump super PAC with nearly 1 million followers on Facebook that

has invested hundreds of thousands of dollars on ads since 2018, “[a]s a result of the

[Committee’s] repeated sharing of content determined by third-party fact-checkers

to be false."234


                           PREDICATE ACT – 18 U.S.C. §1343
                            Fraud by Wire, Radio, or Television

                                                    288.

Whoever, having devised or intending to devise any scheme or artifice to defraud,

or for obtaining money or property by means of false or fraudulent pretenses,

representations, or promises, transmits, or causes to be transmitted by means of wire,

radio, or television communication in interstate or foreign commerce, any writings,

signs, signals, pictures, or sounds for the purpose of executing such scheme or

artifice, violates 18 U.S.C. §1343.

                                                    289.

A scheme in commission of honest services fraud occurs in the private sector when

a private party breaches a fiduciary duty, which includes to “contravene - by




234
   O’Sullivan, Donie. “Facebook bans ads from pro-Trump PAC,” CNN, August 6, 2020; Rodrigo, Chris Mills.
“Facebook bans pro-Trump PAC from advertising,” The Hill, August 6, 2020.

                                                  87
             Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 88 of 118




inherently harming – the purpose of the parties’ relationship,” with reasonably

foreseeable harm.235

                                                           290.

“The phrase ‘scheme or artifice [to defraud] by depriv[ing] another of the intangible

right of honest services,’ in the private sector context, means a scheme or artifice to

use the mails or wires to enable an officer or employee of a private entity (or a person

in a relationship that gives rise to a duty of loyalty comparable to that owed by

employees to employers) purporting to act for and in the interests of his or her

employer (or of the other person to whom the duty of loyalty is owed) secretly to act

in his or her or the defendant's own interests instead, accompanied by a material

misrepresentation made or omission of information disclosed to the employer or

other person.”236

                                                           291.

Defendant Facebook and Procter & Gamble schemed and acted in furtherance of that

scheme to deprive Plaintiff Loomer of honest services due to her as a user of

Facebook.




235
      United States v. deVegter, 198 F.3d 1324 (11th Cir. 1999); see also 18 USC §1346.
236
      United States v. Rybicki, 354 F.3d 124 (2d Cir. 2003).

                                                          88
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 89 of 118




                                                        292.

Defendant Facebook and Procter & Gamble schemed and acted in furtherance of that

scheme to deprive Facebook’s user base of honest services.

                                                        293.

Governments have limited a company’s right to exclude when the company holds

itself “out to the public but do[es] not ‘carry’ freight, passengers, or

communications.”237

                                                        294.

“It stands to reason that if Congress may demand that telephone companies operate

as a common carrier, it can ask the same of digital platforms. That is especially true

because … restricting a digital platform’s right to exclude might not appreciably

impede the platform from speaking.”238

                                                        295.

“At that point, a company’s property is but its instrument, the means of rendering

the service which has become of public interest.”239 (emphasis added)

                                                        296.

Defendant Facebook devised a scheme to obtain money and intellectual property

from its user base, through the use of advertisement sales from political campaigns



237
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring)
238
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring)
239
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring)

                                                       89
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 90 of 118




in the 2020 election, under the fraudulent pretense and false promises that

advertisements from political candidates would not be subject to third-party review

or censorship.

                                                       297.

Defendant Facebook used television and electronic communications to deliver said

promises to current and potential political candidates during the period from October

2019 to June 2020 as a way to procure millions of dollars in advertisement purchases,

website community construction, and other social media activities leading up to the

election on November 3, 2020.

                                                       298.

On October 3, 2019, Defendant Facebook’s spokesman said: “We don’t believe that

it’s an appropriate role for us to referee political debates. Nor do we think it would

be appropriate to prevent a politician’s speech from reaching its audience and being

subject to public debate and scrutiny.”240

                                                       299.

On October 17, 2019, in an advance clip of an interview set to air October 18, 2019




240
  Hern, Alex. “Facebook exempts political ads from ban on making false claims,” The Guardian, October 4, 2019;
Boyle, Meka. “Facebook’s Updated Advertising Policy Could Enable Politicians to Spread Misinformation,”
Newsweek. October 3, 2019.

                                                      90
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 91 of 118




on Fox News, Defendant Zuckerberg said he would not censor social media posts

from politicians, including President Donald Trump.241

                                                      300.

On or about November 8, 2019, Defendant Facebook’s Chief Product Officer Chris

Cox, who oversaw all of WhatsApp, Messenger, and Instagram, led Facebook’s

efforts to fight misinformation and protect elections, and was reported to be one of

the most powerful people at Facebook, publicly stated “[Donald] Trump should not

be our President” and that a campaign to spend millions on digital messaging to

oppose Donald Trump in the 2020 presidential election was “something I have

wanted to work on for a while.”242

                                                      301.

On or about June 2, 2020, Defendant Facebook alerted its staff that it would be

changing its policies relating to the moderation of posts by politicians.243

                                                      302.

Defendant Facebook fraudulently represented that all political candidates for the

2020 general election would be allowed to use its site for campaign activities and

advertisements without third-party censorship.



241
    Martin, Jeffery. “Zuckerberg Tells Fox News Facebook Won't Censor Politicians, While Warren Says Facebook
Could Help Trump Win Again,” Newsweek. October 17, 2019.
242
    Matsakis, Louise. “Former Facebook Executive Chris Cox on Elections and Climate Change,” Wired. November
8, 2019.
243
    Nolan, Lucas. “Mark Zuckerberg Tells Angry Facebook Employees He May Change Censorship Policy on Trump
and Other World Leaders,” Breitbart, June 2, 2020.

                                                     91
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 92 of 118




                                                       303.

Defendant Facebook received over $100 million in advertisement revenue from

political candidate Donald J. Trump during the 2020 election cycle,244 but then

changed its policies to subject those advertisements to third-party review and

censorship.

                                                       304.

On March 1, 2022, Defendant Zuckerberg was accused by the Office of Special

Counsel Report to the Wisconsin State Assembly of providing financing for bribery

operations and to purchase illegal drop boxes for the purpose of undermining the

2020 general election.245

                                                       305.

This fraudulent scheme is further evidenced by the recent revelations by Zuckerberg

on The Joe Rogan Experience and Alex Berenson’s revelations following his

litigation with Twitter. It is now clear that Defendants have engaged in a wide-

ranging fraudulent scheme to convince consumers they fight election interference

when, in reality, they have done the exact opposite.




244
    “Presidential General Election Ad Spending Tops $1.5 Billion,” Wesleyan Media Project. October 29, 2020.
https://mediaproject.wesleyan.edu/releases-102920/.
245
    Cleveland, Margot. “Breaking: Special Counsel Finds Mark Zuckerberg’s Election Money Violated Wisconsin
Bribery Laws,” The Federalist. March 01, 2022.

                                                      92
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 93 of 118




                         PREDICATE ACT – 18 U.S.C. §2339B
                   Providing material support or resources to designated
                              foreign terrorist organizations

                                                        306.

A person who knowingly provides material support or resources to a foreign terrorist

organization, or attempts or conspires to do so, and has knowledge that the

organization is a designated terrorist organization, that the organization has engaged

or engages in terrorist activity, or that the organization has engaged or engages in

terrorism, violates 18 U.S.C. §2339B.246

                                                        307.

The term “material support or resources” means any property, tangible or intangible,

or service, including training, expert advice or assistance, false documentation or

identification, communications equipment, or facilities.247

                                                        308.

“A company ordinarily is a place of public accommodation if it provides lodging,

food, entertainment, or other services to the public in general … Twitter and other

digital platforms bear a resemblance to that definition.”248




246
    18 U.S.C. § 2339B(a)(1)
247
    18 U.S.C. § 2339A(b)(1)
248
    Biden v. Knight First Amendment Institute at Columbia Univ., 593 U.S. ______ (2021) (Thomas, J. concurring)

                                                       93
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 94 of 118




                                                      309.

On April 10, 2018, Defendant Zuckerberg testified before the U.S. Senate

Commerce and Judiciary Committees, “[T]he way the ad system work is advertisers

can come to us and say, I — I have a message that I'm trying to reach a certain type

of people. They might be interested in something, they might live in a place, and

then we help them get that message in front of people.”249

                                                      310.

On April 10, 2018, Defendant Zuckerberg testified before the U.S. Senate

Commerce and Judiciary Committees, “We want our products to be valuable to

people. And if they're valuable, then people choose to use them.”250

                                                      311.

On April 10, 2018, Defendant Zuckerberg testified before the U.S. Senate

Commerce and Judiciary Committees, “I agree that we're responsible for the content,

but we don’t produce the content. I — I think that when people ask us if we're a

media company or a publisher, my understanding of what — the heart of what




249
    “Transcript of Mark Zuckerberg’s Senate hearing,” Bloomberg Government, April 10, 2018.
https://www.washingtonpost.com/news/the-switch/wp/2018/04/10/transcript-of-mark-zuckerbergs-senate-hearing/
250
    “Transcript of Mark Zuckerberg’s Senate hearing,” Bloomberg Government, April 10, 2018.
https://www.washingtonpost.com/news/the-switch/wp/2018/04/10/transcript-of-mark-zuckerbergs-senate-hearing/

                                                     94
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 95 of 118




they're really getting at, is do we feel responsibility for the content on our platform.

The answer to that, I think, is clearly ‘yes.’”251

                                                       312.

On or about April 19, 2019, Hezbollah and Hamas maintained a widespread presence

on Facebook, YouTube and Twitter, including the Hamas television station, Al

Aqsa, along with many leaders of the organizations, having a Twitter Feed and

Facebook page.252

                                                       313.

On or about September 18, 2019, Defendant Facebook was found to have

automatically generated hundreds of business pages promoting the terrorist groups

ISIS and Al Qaida, allowed these pages to remain searchable and accessible by its

user base through basic keyword searches for up to six weeks, and further helped

“the extremist groups because it allow[ed] users to like the pages, potentially

providing a list of sympathizers for recruiters.”253

                                                       314.

In October of 2019, Carlos Monje, Jr., U.S. policy director for Twitter, stated that

Twitter allows accounts associated with political arms of groups designated by the


251
    “Transcript of Mark Zuckerberg’s Senate hearing,” Bloomberg Government, April 10, 2018.
https://www.washingtonpost.com/news/the-switch/wp/2018/04/10/transcript-of-mark-zuckerbergs-senate-hearing/
(emphasis added)
252
    Frenkel, Sheera and Hubbard, Ben. “After Social Media bans, Militant Groups Found Ways to Remain,” The
New York Times, April 19, 2019.
253
    Butler, Desmond, and Ortutay, Barbara. “Facebook still auto-generating Islamic State, al-Qaida pages,” AP
News, September 18, 2019.

                                                      95
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 96 of 118




U.S. government as “foreign terrorist organizations,” such as Hamas and

Hezbollah.254

                                                        315.

Unlike Hamas and Hezbollah, the Taliban in Afghanistan have not been officially

designated as a Foreign Terrorist Organization by the United States; however, the

group was placed on the U.S. Treasury Department list of Specially Designated

Global Terrorists and a Specially Designated Nationals list, as well as being

designated as a terrorist organization in 1999 by the United Nations Security

Council, and it has not been removed from that list.255

                                                        316.

“In accounts swelling across Facebook, Twitter and Instagram — and in group chats

on apps such as WhatsApp and Telegram — the messaging from Taliban supporters

typically challenges the West’s dominant image of the group as intolerant, vicious

and bent on revenge, while staying within the evolving boundaries of taste and

content that tech companies use to police user behavior.”256




254
    Birnbaum, Emily. “Twitter takes down Hamas, Hezbollah-affiliated accounts after lawmaker pressure,” The Hill,
November 4, 2019.
255
    Madhok, Diksha. “How social media is dealing with the Taliban takeover,” CNN Business, August 17, 2021.
256
    Timberg, Craig and Lima, Cristiano. “Today’s Taliban uses sophisticated social media practices that rarely
violate the rules,” The Washington Post, August 18, 2021.

                                                       96
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 97 of 118




                                                           317.

On or about August 17, 2021, two Taliban spokesmen, Suhail Shaehee and

Zabihullah Mujahid had Twitter accounts which have been active for years with

more than 351,000 and 310,000 Twitter followers, respectively.257

                                                           318.

On and before August 17, 2021, Twitter permitted the Taliban official spokesmen to

live-tweet Mujahideen terror,258 the acquisition of arms, storming the Afghanistan

capital, and the occupation of the presidential palace.259


                                PREDICATE ACT - 18 U.S.C. §2385
                                Advocating Overthrow of Government

                                                           319.

Whoever knowingly or willfully abets or teaches the desirability or propriety of

overthrowing or destroying the government of the United States or the government

of any State, Territory, District or Possession thereof, or the government of any

political subdivision therein, by force or violence, or by the assassination of any

officer of any such government; or whoever, with intent to cause the overthrow or

destruction of any such government attempts to publish, edit, issue, circulate,



257
    Eberhart, Christopher. “Taliban will be allowed to STAY on Twitter - as long as they don't 'glorify violence' -
while ex-president Trump is still banned,” Dailymail.com, August 18, 2021.
258
    This includes insurgents reportedly marrying girls as young as 12 and forcing them into sex slavery as 'spoils of
war,' and the killing Afghan troops trying to surrender.
259
    Eberhart, Christopher. “Taliban will be allowed to STAY on Twitter - as long as they don't 'glorify violence' -
while ex-president Trump is still banned,” Dailymail.com, August 18, 2021.

                                                          97
          Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 98 of 118




distribute, or publicly display any written matter advocating, advising, or teaching

the desirability or propriety of overthrowing or destroying any government in the

United States by force or violence; or whoever attempts to organize or help any

society, group, or assembly of persons who teach, advocate, or encourage the

overthrow or destruction of any such government by force or violence – or anyone

who knowingly affiliates or conspires with any such group – violates 18 U.S.C.

§2385.

                                                        320.

On or about September 17, 2019, Facebook facilitated the group Abolish ICE

Denver and other Communist groups to organize gatherings outside the home of ICE

warden Johnny Choate to harass and disrupt the lives of government officials and

post direct threats, such as “FIRE TO THE PRISON” on these groups’ official

Facebook pages, even labeling the event “Confront La Migra Where They Live.”260

                                                        321.

On or about May 26, 2020, President Donald Trump publicly accused Defendant

Twitter of “interfering in the 2020 Presidential Election.” 261




260
    Bokhari, Allum. “Denver Communists Use Facebook to Threaten ICE Facility: ‘Fire to the Prison!’,” Breitbart,
September 17, 2019.
261
    Dwoskin, Elizabeth. “Twitter labels Trump’s tweets with a fact check for the first time,” The Washington Post.
May 27, 2020.

                                                       98
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 99 of 118




                                                       322.

On or about June 11, 2020, Facebook refused to remove a page celebrating “dead

cops” titled “The Only Good Cops Are Dead Cops” which openly incited violence

against police officers after it was reported by its users, and said that although it may

be “offensive,” it does not violate any specific community standards. 262

                                                       323.

Facebook expressly told its content moderators to allow calling police officers

“pigs,” and that “the policy was shaped by left-wing individuals who were seeking

to influence the discourse and also influence the election.”263

                                                       324.

On July 24, 2020, Law Enforcement Today264 was set to hold the largest pro-police

rally in Long Island, New York on July 25th, but Facebook deleted the events page

without any explanation.265

                                                       325.

On December 9, 2020, then Senate Homeland Security Committee Chairman Sen.

Ron Johnson (R-WI) stated that without the interference of companies including

Defendants, “Trump would have won the election. That’s the enormous influence


262
    Watson, Paul Joseph. “Facebook Says Page Celebrating “Dead Cops” Doesn’t Violate its Community Standards,”
Summit, June 11, 2020.
263
    Bokhari, Allum. “Facebook Insider Ryan Hartwig: The Company Allowed Users to Demonize Whites, Men,
Cops,” Breitbart, June 26, 2020.
264
    A pro-police advocacy group founded by Captain Robert Greenberg which operates a news website reporting
first-hand accounts of what police officers go through when implementing the law.
265
    Harper, Cindy. “Facebook deletes pro-police “Back the Blue” event page,” Reclaim The Net. July 24, 2020.

                                                     99
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 100 of 118




that social media and our liberal biased media played on this election. Their

interference – just is order of magnitude greater than any Russian or Chinese or Iran

foreign interference in this campaign.”266

                                                        326.

On January 7, 2021, Facebook indefinitely froze the account of the President of the

United States, Donald J. Trump, “for at least the next two weeks until the peaceful

transition of power is complete.”267

                                                        327.

On January 8, 2021, Defendant Twitter permanently banned the President of the

United States from its platform “due to the risk of further incitement of violence.”268

                                                        328.

On January 11, 2021, Defendant Facebook said it had begun removing content with

the phrase “stop the steal,” which had become a rallying cry among supporters of

President Trump, under its Coordinating Harm Policy.269




266
    Hanchett, Ian. “Ron Johnson: Social Media and Media Influence on Election ‘Orders of Magnitude’ Greater Than
any Foreign Interference in 2020,” Breitbart, December 9, 2020.
267
    Spangler, Todd. “Facebook Bans Trump Indefinitely as CEO Mark Zuckerberg Cites Need for ‘Peaceful
Transition of Power,’” Variety. January 7, 2021.
268
    Osborne, Mark. “Twitter permanently suspends Donald Trump’s account; president teases new platform: The
social media platform has been his preferred method of communication.” ABCNews. January 8, 2021.
269
    Spangler, Todd. “Facebook has No Plans to Reinstate Trump Accounts, Bans Phrase “Stop the Steal,” Variety.
January 11, 2021.

                                                      100
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 101 of 118




                                                           329.

On August 17, 2021, Congressman Doug Lamborn, 5th District of Colorado and

Ranking Member on Armed Services Committee, stated in an official letter to

Defendant Dorsey that the Taliban, specifically Zabihullah Mujahid, were using

Twitter accounts to provide updates and propaganda messaging in furtherance and

support of the Taliban overthrow of United States governmental entities and interests

in Afghanistan.270

                                                           330.

On August 17, 2021, Congressman Doug Lamborn, 5th District of Colorado and

Ranking Member on Armed Services Committee, stated in an official letter to

Defendant Dorsey that he “did not find a single fact-check on any of [Zabihullah

Mujahid or Yousef Ahmadi’s] tweets, nor any warnings for false or misleading

content.” 271

                                ONGOING IMMEDIATE THREAT

                                                           331.

The “equal time rule” under the Communications Act of 1934 explicitly precludes

the use of selective bias of traditional media broadcasters to manipulate the outcome




270
    Eberhart, Christopher. “Taliban will be allowed to STAY on Twitter - as long as they don't 'glorify violence' -
while ex-president Trump is still banned,” Dailymail.com, August 18, 2021.
271
    Eberhart, Christopher. “Taliban will be allowed to STAY on Twitter - as long as they don't 'glorify violence' -
while ex-president Trump is still banned,” Dailymail.com, August 18, 2021.

                                                         101
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 102 of 118




of elections by limiting points of view and excluding other candidates from getting

the same airtime but does not currently extend to social media broadcasting.272

                                                           332.

In 2017, Defendant Facebook’s former head of growth, Chamath Palihapitiya,

stated, “we have created tools that are ripping apart the social fabric of how society

works.”273

                                                           333.

On or about September 17, 2019, Defendant Facebook shut down Israeli Prime

Minister Benjamin Netanyahu’s ability to communicate with supporters on the site,

claiming a violation of local law for sharing election information. 274

                                                           334.

On or about October 26, 2019, U.S. Rep. Alexandria Ocasio-Cortez (D-N.Y.)

accused Defendant Facebook of “making active & aggressive decisions that imperil

our elections."275




272
    Harper, Cindy. “Facebook’s refusal to run ads for candidate Laura Loomer hints at the need for a modern-day
equal-time rule,” Reclaim The Net. July 4, 2020.
273
    Schiffer, Zoe. “WhatsApp co-founder Brian Acton still thinks you should delete Facebook,” The Verge. November
8, 2019.
274
    Frazin, Rachel. “Netanyahu: Facebook caved to 'pressure of the Left' by suspending chatbot over illegal polls,” The
Hill, September 17, 2019.
275
    Frazin, Rachel. “Ocasio-Cortez blasts Facebook's ad decisions, calling them 'increasingly disturbing',” The Hill,
October 26, 2019.

                                                         102
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 103 of 118




                                                         335.

On or about January 18, 2020, Reuters reported that China is Defendant Facebook’s

largest source country for revenue after the United States, and Facebook is setting

up a new engineering team to focus specifically on the lucrative advertising business

in the country.276

                                                         336.

On or about January 27, 2020, Defendant Facebook was banned in China, yet the

company maintains offices in the country and uses Chinese suppliers to manufacture

its Oculus virtual reality headsets and its Portal family of video chat devices.277

                                                         337.

On or about February 4, 2020, U.S. Senator Ted Cruz (R-TX) stated, “For social

media to be in the business of banning and censoring political speech, of silencing

candidates for office, silencing citizen groups and silencing individual citizens, is

profoundly harmful to our democratic process.”278




276
    Padilla, Mariel. “Facebook Apologized for Vulgar Translation of Chinese Leader’s Name,” The New York Times,
January 18, 2020; Moreno, J. Edward. “Facebook apologizes after Chinese president’s name translated into vulgar
phrase," The Hill, January 18, 2020; “Facebook blames 'technical error' for Xi Jinping offensive name translation
gaffe,” The Guardian, January 18, 2020. https://www.theguardian.com/technology/2020/jan/18/facebook-xi-jinping-
mr-shithole.
277
    Statt, Nick. “Facebook, Razer, and LG are restricting employee travel to China amid coronavirus outbreak,” The
Verge, January 27, 2020; Deese, Kaelan. “Facebook, other companies restrict travel to China,” The Hill, January 28,
2020; Gurman, Mark and Wagner, Kurt. “Facebook Restricts Employee Travel to China on Virus Concern,”
Bloomberg, January 27, 2020.
278
    Bokhari, Allum. “Google Censors the Congressional Record,” Breitbart. February 4, 2020.

                                                       103
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 104 of 118




                                                         338.

On May 29, 2020, the White House said Defendant Twitter “has determined that it

will allow terrorists, dictators, and foreign propagandists to abuse its platform.”279

                                                         339.

An April 2021 report from the Tech Transparency Project (TTP) identified a surge

in Facebook groups devoted to human smuggling.280

                                                         340.

The TTP report found that Facebook’s algorithms and automated features compound

the problem of human smuggling by suggesting additional pages that offer border

crossings, directing users to other dubious, and potentially dangerous, smuggling

services.”281

                                                         341.

On May 5, 2021, Defendant Facebook’s Oversight Board upheld the January

suspension of President Donald Trump’s accounts for his “maintaining an

unfounded narrative of electoral fraud and persistent calls to action.”282




279
    Bokhari, Allum. “Twitter Censors Official White House Account,” Breitbart. May 28, 2020; White, Chris. “Twitter
Censors White House Account for Quoting Trump’s Flagged ‘THUGS’ Tweet,” Daily Caller, May 29, 2020.
280
    Simonson, Joseph. “Meta Will Allow Solicitation of Human Smuggling on Its Platforms - Policy comes amid
surge in Facebook groups devoted to human smuggling,” Washington Free Beacon. February 1, 2022.
281
    “Facebook Teems with Human Smugglers Luring Migrants,” Tech Transparency Project. April 16, 2021.
https://www.techtransparencyproject.org/articles/facebook-teems-human-smugglers-luring-migrants.
282
    Spangler, Todd. “Donald Trump Facebook Suspension Upheld by Oversight Board Ruling,” Variety. May 5,
2021.

                                                       104
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 105 of 118




                                                        342.

On June 4, 2021, Defendant Facebook announced that “politicians’ posts will no

longer be exempt from the company’s rules that prevent users from engaging in

harmful speech” and “that it will no longer treat content that is posted by politicians

as inherently of public interest or newsworthy.”283

                                                        343.

On July 15, 2021, White House Press Secretary and former CNN contributor Jen

Psaki stated that a person banned from one social media platform should be banned

from all others, and that “we’re flagging problematic posts for Facebook that spread

disinformation.”284

                                                        344.

In August of 2021, the Taliban in Afghanistan and its terrorist affiliates used Twitter

and Facebook applications to organize, implement, and procure substantial resources

necessary to achieve the defeat of the United States and its allies in Afghanistan.285




283
    Rodriguez, Salvador. “Facebook reverses policy protecting politicians from engaging in harmful speech” CNBC,
June 4, 2021.
284
    Lancaster, Jordan. “Psaki Says People Should Be Banned on All Social Media if They are Banned from One
Platform,” Daily Caller, July 16, 2021.
285
    Timberg, Craig and Lima, Cristiano. “Today’s Taliban uses sophisticated social media practices that rarely
violate the rules,” The Washington Post, August 18, 2021; Eberhart, Christopher. “Taliban will be allowed to STAY
on Twitter - as long as they don't 'glorify violence' - while ex-president Trump is still banned,” Dailymail.com,
August 18, 2021.

                                                      105
      Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 106 of 118




                                     COUNT I

        18 U.S.C. § 1962(c) (“FEDERAL RICO”) & 18 U.S.C. § 1964(c)
        RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS

                                          345.

The allegations of paragraphs 1 through 344 are incorporated herein by reference.

                                          346.

Any person associated with any enterprise affecting interstate or foreign commerce

who participates, directly or indirectly, in the conduct of such enterprise’s affairs

through a pattern of racketeering activity, violates 18 U.S.C. § 1962(c).

                                          347.

Defendants violated Federal RICO and Plaintiffs were injured as a result.

                                          348.

Each Defendant is a “person” capable of holding legal or beneficial interest in

property within the meaning of 18 U.S.C. § 1961 (3).

                                          349.

Each Defendant violated 18 U.S.C. § 1962(c) by the acts described in the prior

paragraphs, and as further described hereinbelow.

                                          350.

Defendants Facebook, Twitter, Mark Zuckerberg, Jack Dorsey, and Proctor &

Gamble, and Does 1-100 collectively along with YouTube and Google, and others

constitute an enterprise (hereinafter, “Community Media Enterprise”) associated in
                                         106
            Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 107 of 118




fact and engaged in and whose activities affect interstate commerce with common

goals of making money, acquiring influence over other enterprises and entities, and

other pecuniary and non-pecuniary interests.

                                                              351.

“A jury is entitled to infer the existence of an enterprise on the basis of largely or

wholly circumstantial evidence. Direct Evidence of association may be difficult to

obtain; a jury is permitted to draw the natural inference arising from circumstantial

evidence of association.”286

                                                              352.

Community Media Enterprise is an enterprise engaged in and whose activities affect

interstate commerce. The Defendants own, are employed by, or are otherwise

associated with the enterprise.

                                                              353.

Plaintiffs have suffered the requisite direct injury to their business or property

(tangibly and intangibly) by reason of substantive RICO violations committed by

Defendants.




286
      United States v. Pipkins, 378 F.3d 1281 (11th Cir. 2004).

                                                           107
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 108 of 118




                                                          354.

The Community Media Enterprise meets the criteria for “Open-Ended

Continuity.”287

                                                          355.

A specific threat of repetition exists insofar as Defendants continue to engage in the

predicates listed herein.

                                                          356.

The predicates listed below are supported by Defendants’ policies and procedures

for its ongoing, legitimate businesses.

                                                          357.

Predicate acts can be attributed to Defendants operating as part of a long-term

association that exists for criminal purposes outlined herein, as well as others

currently under ongoing federal investigation.288

                                                          358.

“Also while a plaintiff may use predicate acts targeting other victims to show

evidence of a ‘pattern’ of racketeering, the plaintiff needs only to be injured by a

single predicate act committed in furtherance of the scheme.”289



287
    See, Magnifico v. Villanueva, 783 F.Supp.2d 1217 (S.D. Fla. 2011).
288
    The Federal Trade Commission sued Facebook on December 9, 2020 for “illegally maintaining its personal
social networking monopoly through a years-long course of anticompetitive conduct.” Ftc.gov/news-events/press-
releases/2020/12/ftc-sues-facebook-illegal-monopolization
289
    Hamill, John J. et al., Practice Series: RICO – A Guide to Civil RICO Litigation in Federal Courts, Jenner and
Block (2014); See also, Sedima, S.P.R.L. v. Imrex Co., 473 U.S. 479, 488-93 (1985).

                                                        108
      Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 109 of 118




                                           359.

The Defendants agreed to and did conduct and participate in the conduct of

Community Media Enterprise’s affairs through a pattern of racketeering activity and

for the unlawful purpose of intentionally defrauding Plaintiffs and others.

                                           360.

Defendants have committed the following related predicate acts in violation of 18

U.S.C. §1343, §1951, §1952, §2339B, and §2385 as part of their standard practice,

demonstrating a pattern of criminal conduct of a continuing nature, for the unlawful

purpose of intentionally defrauding and extorting Plaintiffs and other individuals and

entities in furtherance of the goals of Community Media Enterprise.


                                    Wire Fraud

                                           361.

Plaintiffs repeat and re-aver each and every statement contained in paragraphs 216

– 261 and 288 – 305.

                                           362.

Defendants violated 18 U.S.C. §1343 by devising or intending to devise an artifice

of community policies and scheme to exploit them in order to defraud and obtain

money and intangible property under the false pretense of compliance with

community policies, and false promises of upholding community standards and



                                         109
            Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 110 of 118




transmitted writings by means of wire communication in interstate or foreign

commerce for the purpose of executing such scheme or artifice.290


                        Interference with Commerce by Threats or Violence

                                                            363.

Plaintiffs repeat and re-aver each and every statement contained in paragraphs 216

– 261 and 262 – 278.

                                                            364.

Defendants Facebook, Twitter, Jack Dorsey and Mark Zuckerberg violated 18

U.S.C. §1951 by conspiring, attempting, and obstructing, delaying and affecting

commerce through extortion by wrongfully using the fear of the public disgrace and

economic harm associated with being banned and labeled a dangerous individual or

group, under the color of official right, to obtain intangible property from Plaintiff

Loomer, her associates, followers, and those similarly situated, with their consent.291

                                                            365.

Defendant Facebook used written communication to maliciously threaten to injure

Plaintiff Loomer’s intangible property and reputation, and expose Plaintiff Loomer

to the disgrace of being banned, labeled a “dangerous individual,” and placed on a

dangerous individual’s list, with the intent to compel Plaintiff Loomer, her



290
      18 U.S.C. § 1343, Fraud by wire, radio, or television (United States Code (2020 Edition))
291
      18 U.S.C. § 1951, Interference with commerce by threats or violence (United States Code (2020 Edition))

                                                         110
            Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 111 of 118




associates, followers, and similarly situated individuals to refrain, against their will,

from speaking to or associating with other individuals or groups labeled by

Defendants as “dangerous” or who are or might otherwise be in violation of

Defendants’ policies.



          Interstate and Foreign Transportation in Aid of Racketeering Enterprise

                                             366.

Plaintiffs repeat and re-aver each and every statement contained in paragraphs 216

– 261 and 279 – 287.

                                             367.

Whoever maliciously threatens to accuse another of any crime or offense, or to injure

the person, property or reputation of another, or to expose another to disgrace, or to

impute any deformity to another, with intent thereby to extort any pecuniary

advantage whatsoever, or to compel the person so threatened, or any other person,

to do any act or refrain from doing any act against his or her will, violates the Florida

Extortion Statute.292




292
      Fla. Stat. § 836.05.

                                            111
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 112 of 118




                                                         368.

Whoever obtains the property or other consideration from another with consent

induced by a wrongful use of force, fear - including fear induced by a threat to accuse

the threatened individual, or a relative, of a crime or to expose or to impute to them

a disgrace or crime, or under color of official right, violates the California Extortion

Statute.293

                                                         369.

Defendant Facebook used mail, email, the internet, social media, and other facilities

in interstate commerce with the intent to promote, manage, establish, carry on, or

facilitate the promotion, management, establishment, or carrying on, of the unlawful

activity of extortion pursuant to Fla. Stat. Ch. 836.05. and Cal. Penal Code 518.

                                                         370.

Defendants violated 18 U.S.C. §1952 by, through printed and electronic

communication, maliciously threatening to injure the property and reputation of

Plaintiffs, and those similarly situated, and to expose them to disgrace with the intent

to extort pecuniary advantage and to compel Plaintiffs and those similarly situated

to refrain from associating or speaking against their wills.294




293
   California Penal Code §518-519
294
   18 U.S.C. §1952, Interstate and Foreign Transportation in Aid of Racketeering Enterprises (United States Code
(2020 Edition))

                                                       112
         Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 113 of 118




                           Providing Material Support or Resources to
                           Designated Foreign Terrorist Organizations

                                                          371.

Plaintiffs repeat and re-aver each and every statement contained in paragraphs 306

– 318.

                                                          372.

Defendants violated 18 U.S.C. §2339B by attempting to knowingly provide material

support or resources to a foreign terrorist organization by announcing that the

political wings of known foreign terrorist organizations could use its platforms and

knowingly allowed them to do so.295

                               Advocating Overthrow of Government

                                                          373.

Plaintiffs repeat and re-avers each and every statement contained in paragraphs 319

– 330.

                                                          374.

Defendants violated 18 U.S.C. §2385 by conspiring to willfully abet the teaching of

the propriety of overthrowing and assassinating U.S. and state officers and officials

and knowingly affiliated with groups advocating and encouraging the destruction of

the United States government.296

295
    18 U.S.C. § 2339B, Providing material support or resources to designated foreign terrorist organizations (United
States Code (2020 Edition)).
296
    18 U.S.C. § 2385, Advocating overthrow of Government (United States Code (2020 Edition)).

                                                        113
            Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 114 of 118




                                                          375.

Defendants violated 18 U.S.C. §2385 by attempting and conspiring to circulate, sell,

distribute, and publicly display printed matter advocating, advising, and teaching the

desirability and propriety of overthrowing or destroying United States and state

governments, or their officers and officials, by force and violence.297

                                                          376.

Defendants violated 18 U.S.C. §2385 by helping and attempting to organize, through

recruitment and formation, groups of persons who teach, advocate, and encourage

the overthrow and destruction of U.S. and state government by force and violence.298

                                                          377.

Pursuant to and in furtherance of their fraudulent schemes, Defendants committed

multiple related acts of Wire Fraud, Extortion, Interference with commerce by

threats or violence, Interstate and foreign travel or transportation in aid of

racketeering enterprises, Providing material support or resources to designated

foreign terrorist organizations, and Advocating overthrow of government, violating

18 U.S.C.§1343, §1951, §1952, §2339B, and §2385.




297
      18 U.S.C. § 2385, Advocating overthrow of Government (United States Code (2020 Edition)).
298
      18 U.S.C. § 2385, Advocating overthrow of Government (United States Code (2020 Edition)).

                                                        114
       Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 115 of 118




                                           378.

The acts of wire fraud, extortion, interference with commerce by threats or violence,

and interstate and foreign transportation in aid of racketeering enterprises, providing

material support or resources to designated foreign terrorist organizations, and

advocating overthrow of government committed against Plaintiffs by Defendants

and other members of the Community Media Enterprise constitute a pattern of

racketeering activity pursuant to 18 U.S.C. §1961(5).

                                           379.

The Defendants have directly and indirectly conducted and participated in the

conduct of the enterprise’s affairs through the pattern of racketeering and activity

described above, in violation of 18 U.S.C. § 1962(c).

                                           380.

As a direct and proximate result of the Defendants’ racketeering activities and

violations of 18 U.S.C. § 1962(c), Plaintiffs have been injured in their business,

reputation, election activities, and property through the loss of money, property,

intangible rights, equal opportunity, campaign exposure, goodwill, and donations.




                                         115
            Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 116 of 118




                                                   COUNT II

                              18 U.S.C. § 1962(d) & 18 U.S.C. § 1964(c)
                                   FEDERAL RICO CONSPIRACY

                                                           381.

The allegations of paragraphs 1 through 380 are incorporated herein by reference.

                                                           382.

“A plaintiff can establish a RICO conspiracy claim in one of two ways: (1) by

showing that the defendant agreed to the overall objective of the conspiracy; or (2)

by showing that the defendant agreed to commit two predicate acts. Direct evidence

of a RICO agreement is not required; rather it may be inferred from the conduct of

the participants.”299

                                                           383.

Defendants agreed and conspired to violate 18 U.S.C. § 1962(c).

                                                           384.

Defendants conspired to conduct and participate in the conduct of the affairs of the

Community Media Enterprise through a pattern of racketeering activity (§ 1962(c)).

                                                           385.

Plaintiffs repeat and re-aver each and every statement contained in paragraphs 346

– 380.



299
      Magnifico v. Villaneuva, 783 F.Supp.2d 1217 (S.D. Fla. 2011).

                                                         116
      Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 117 of 118




                                           386.

The Defendants have intentionally conspired and agreed to directly and indirectly

conduct and participate in the conduct of the affairs of the Community Media

Enterprise through a pattern of racketeering activity. The Defendants knew that their

predicate acts were part of a pattern of racketeering activity and agreed to the

commission of those acts to further the schemes described hereinabove. That

conduct constitutes a conspiracy to violate 18 U.S.C.A. § 1962(c), in violation of 18

U.S.C. § 1962(d).

                                           387.

As a direct and proximate result of the Count II Defendants’ conspiracy, the overt

acts undertaken in furtherance of that conspiracy, and violations of 18 U.S.C.

§ 1962(d), Plaintiffs have been injured in their business, reputation, election

activities, and property through the loss of money, property, intangible rights, equal

opportunity, and campaign exposure, goodwill, and donations.




                                         117
      Case 3:22-cv-02646-LB Document 69 Filed 08/29/22 Page 118 of 118




                           PRAYER FOR RELIEF

WHEREFORE, Plaintiffs request that this Court enter judgment against the

Defendants as follows:

   A. On Count I, $100,000,000.00 in Actual Damages, $300,000,000.00 in Treble

      Damages, $5,000,000,000.00 in Punitive Damages, reasonable investigator

      and attorneys’ fees, and Order Defendants to cease all use of current hate

      speech, dangerous individuals and organizations, and other violative

      community policies and practices.

   B. On Count II, $50,000,000.00 in Actual Damages, $150,000,000.00 in Treble

      Damages, $5,000,000,000.00 in Punitive Damages, reasonable investigator

      and attorneys’ fees, and Order Defendants to cease all use of current hate

      speech, dangerous individuals and organizations, and other violative

      community policies and practices.



Respectfully submitted this 29th Day of August, 2022.


                                                   ________________________
                                                                 John M. Pierce
                                                              CA Bar # 250443
                                                    jpierce@johnpiercelaw.com
                                               21550 Oxnard St., 3rd Fl PMB 172
                                                     Woodland Hills, CA 91367
                                                     Telephone: (213) 349-0054
                                                          Attorney for Plaintiffs


                                       118
